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HI l TER DIAZ~ARRASTIA BREM LLP
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Fax: (713) 228-3510

 

 

Attorne s for Defendant .
THE D W CHEMICAL COMPANY

UNITED STATES I)ISTRICT COURT
CENTRAL DISTRICT ()F CALIFORNIA

LOS ANGELES L§KW § 2a § 2 _

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JORGE ACOSTA CORTES; ANTONIO ' S NO. 12 j 93 1.
ACUNA AGUERO; GERARDO

ACUNA MURILLO; JAVIER RAMON NOTICE OF REMOVAL OF
AGUERO ARTAVIA; TEODORO ACTION UNDER 28 U.S.C. -
AGUERO MORA; VICTOR HUGO § 1332(d), 1446, and 1453
AGUILAR CESPEDES; JOSE . lass Action Fairness Act)

JOA UIN AGUILAR MONTERO;
csc AGUILAR MORA; ALBINO
AGUILAR SOLANO; JOSE SIMON
AGUIRRE AGUIRRE; JoSE
FRANCISCO AGUIRRE AGUIRRE;
ALFONS<) AGUIRRE VILLAGRA;
SANTOS vIANNEY AGUIRRE
zUNIGA; cLEMENTE ALVARADO
RIOS; ALCIDES ALVARADO
zAMORA; ANGEL JULIAN
ALVAREZ AGUIRRE; ANTONIO
ALVAREZ ALVAREZ; LUIS
ANTONIO ALVAREZ ALVAREZ;
JESUS ALVAREZ BUSTOS;
SIGIFREDO ALVAREZ DIAZ;
ROP<§[I\IJE ALVAREZ MORALES-

HE AN ALVAREZ ROSALES;
GIOVANNI ALVAREZ RUIZ;
vlcToR MANUEL ALVAREZ

     

 

 

 

NOTICE OF REMOVAL OF ACTION U'NDER 28 U.S.C. §§ 1332(¢1), 1441, 1446, and 1453 (Class Action)

 

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ARAGON RUGAMA; MARVIN
ARAYA ALVAREZ; JOSE ANGEL
ARAYA BOLANOS; CLAUDIO
ARAYA HERNANDEZ; JUAN
ARAYA ORTEGA; BENEDICTO
ARAYA ROJAS; JOSE DONALDO
ARCE BEJARANO; VICTOR IULIO
ARCE QUESADA; ELIECER ARCE
RETANA; VICTOR ARGUEDAS
MUNOZ; VIDAL ARIAS AVILA;
GILBERTO ARIAS MEZA;
HERMI`N[O ARIAS PANIAGUA;
BIENVENIDO ARIAS SOLANO'
EDUARDO ARIAS VILLALOBC)S;
RAFAEL ANTONIO AVILA
CAMBRONERO; HUGO AVILES
IUAREZ; RICARDO ALBERTO
BALDELOMAR BALDELOMAR;
EDUARDO FAUSTO BALTODANO
BALTODANO; VIRGILIO
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FRANCISCO BOJORGE APU;
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RAFAEL BONILLA MADRIGAL;
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JOSE BRENES CISNEROS; JESUS
FRANCISO BRENES CRUZ;
ALEJANDRO BRENES GUEVARA;
EDWIN BRENES LEON; CESAR
AURELIO BRENES MARTINEZ;
EDGAR BRENES MORA;
REMBERTO BRICENO MACOTELO;
BENEDICTO BRIONES GARCIA;
JOSE LEON BRIONES RANGEL;

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, and1446 {Class Acticm)

 

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JOSE GREGORIO BUZANO VEGA;
JOSE LUIS CALDERON BARBOZA;
OLDEMAR CALDERON SOLANO; ¢,
1\/[ELV1N CALVO VARGAS; RAFAEL
ANGEL CAMBRONERO GUERRERO;
JOSE ALBERTO CAMPOS CAMPOS;
FRANCISCO CAMPOS ZUMBADO;
RODOLFO CARBALLO
BARRIENTOS; MARIANO
CARBALLO VARGAS; JOSE LIDIER
CARDENAS GARCIA; JUAN PABLO
CARRILLO CARRILLO; FELIX
CARRILLO MATARRITA; CAMILO
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MATARRITA; FRANCISCO
CARRILLO OBREGON,

Plaintiffs,
VS.

DOLE Foon COMPANY, INC.; DoLE
FRESH FRUIT CoMPANY-

CHI UITA BRANDS COMPANY,
NoR 11 AMERICA; CHI UITA
BRANDS, INC.; CHI 111 A BRANDS
INTERNATIONAL, C.; DEL
MONTE FRESH PRODUCE, INC.;
DEL MoNTE FRESH PRODUCE
(WEST COAST), INC.; SHELL
AGRICULTURAL CHEMICAL
COM;PANY; SHELL CHEMICAL
COMPANY; and THE now
CHEMICAL COMPANY; and DoES 1
through 100, inolusive,

Defendants.

 

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
COURT\FOR THE CENTRAL DISTRICT OF CALIFORNIA:

PLEASE TAKE NOTICE THAT, pursuant to the Class Action Fairness Act of
2005 (“CAFA”), 28 U.S.C. §§ 1332(d) and 1453, The DoW Chemioal Company
(“Dow Chemical”), one of the defendants, hereby removes the above-entitled action

along With the twenty-nine other identical actions filed the same day by the same

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NOTICE OF REMOVAL OF AC’I`ION UNDER 28 U.S.C. §§ 1332, 1441, andl446 (Class Action}

 

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lawyers in their entirety from the Superior Court of the State of California for the
County of Los Angeles to the United States District Court for the Central District of
California. This Court has removal and subject matter jurisdiction over the parties
because these cases constitute a “mass action” under CAFA.

Dow Chemical Would respectfully show the Court that this action is properly
removable to this Court for the following reasons:

1. This action was filed as No. BC 403364; Acosra Cor'res, et al. v. Dole
Food Co., et al. on December 8, 2008 in the Superior Court of California for the
County of Los Angeles. This is one cf thirty identical cases filed by the same
lawyers on the same date on behalf of a total of 2,485 plaintiffs nom Costa Rica,
Honduras, Panama and Guatemala. The claimants are divided alphabetically (by
country) into 30 cases of less than 100 plaintiffs (most have 90) each in a transparent
attempt to avoid federal jurisdiction under the “mass action” provisions of CAFA.
See 28 U.S.C. § 1332(d)(11)(B).

2. Freeman v. Blue Rz'dge Paper Prcducts, Inc. Less than two weeks ago,
the United States Court of Appeals for the Sixth Circuit recently decided a similar
case, where, like here, the plaintiffs arbitrarily divided their claim into multiple
actions for no reason “other than to avoid the clear purpose of CAFA,” and held that
“remand was not proper.” Freeman v. Blue Rz`dge, _ F.3d -, No. 08-6321, 2008
WL 5396249, at *1 (6th Cir. December 29, 2008). The court of appeals went on to
find that “CAFA was clearly designed to prevent plaintiffs from artificially
structuring their suits to avoid federal jurisdiction.” Id. at *2. lmportant here, the
court went on the specifically declare that CAFA’s “purposes support reading CAFA
not to permit the splintering of lawsuits solely to avoid federal jurisdictions in the
fashion done in this case.” Id. at *3. This same reasoning applies with equal force
here and these cases are collectively removable as a CAFA “mass action.” See also
Projjlitt v. Abbott Laboratories, No. 2:08~CV~151, 2008 WL 4401367, at *5 (E.D.
Tenn. Sept. 23, 2008) (holding that there was “no justification for dividing one

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, and1446 (Class Action)

 

 

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1 alleged drug conspiracy involving one defendant into eleven lawsuits . . ..other than
2 to circumvent the CAFA and federal court jurisdiction.”).
3 3. Including the instant action, each of the following cases is being
4 removed to this court:
5 Case No. Name
6 Co.s‘ta Rica
7 1. BC403364 Jorge Acosz‘a Corz‘es, et al. v. Dole Food Co., Inc., et al.
: 2. BC4033 80 Damz'cm Carriillo Obregon, et al. v. Dole Food CO., Inc., et al.
10 3. BC403378 Hermenegildo Garita Sandz`, et al. v. Dole Food Co., Inc., et al.
11 4. BC403365 MiguelAngel Mata Murillo, et al. v. Dole Food Co., Inc., et al.
12 5. BC403379 Jose Isaac Rodrl`guez Diaz, et al. v. Dole Food CO., Inc., et al.
13 6. BC403366 Jose Albino Villegas Mora, et al. v. Dole Food Co., Inc., et al.
-14 Guatema[a
15 7. BC403375 Aritom`o Abrego, et al. v. Dole Food Co., Inc., et al.
16 8. BC403367 Regino Curin Lcrenzo, et al. v. Dole Food Co., Inc., et al.
; 9. BC403376 Maurz`cz`o Hicho, et al. v. Dole Food Co., Inc., et al.
19 10. BC403434 Cosme Eladz'a Ortega Vanegas, et al. v. Dole Food Co., Inc., et al.
20 11. BC403377 Angel Antonio Suchite Garcia, et al. v. Dole Food Co., Inc., et al.
21 Honduras
22 12. BC403371 Cesar Arnulfo Acosta, et al. v. Dole Food Co., Inc., er al.
23 13. BC403511 Lucio Calidonio, et al. v. Dole Food Cc., Inc., et al.
24 14. BC403 507 Marin Rafael Duenes, et al. v. Dole Food Co., Inc., er al.
25 15. BC403433 .]airo Amoldo Juar'ez Goden, et al. v. Dole Food Co., Inc., et al.
26 16. BC403372 Rez`naldo Alfon.so Mendoza anh, et al. v. Dole Food Co., Inc., et al.
:; 17. BC403373 Jose Saul Padz`lla, et al. v. Dcle Food Co., Inc.,_ et al.

 

 

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, and]446 (Class Action)

 

 

 

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Case No. Name
18. BC403 508 Luciano Rodriguez Rodriguez, et al. v. Dole Food Co., Inc., et a!.
19. BC403374 Roberto Ulloa, et al. v. Dole Food Co., Inc., et al.

Panama

20. BC403431 Alis Abdiel Arauz, et al. v. Dole Food CO., Inc., et al. l
21. BC403515 Gladys Alvarado Montenegro, et al. v. Dole Food Co., Inc., et al.
22. BC403432 Estanilao Caballero, et al. v. Dole Food Co., Inc., et al.
23. BC403516 Vl`ctor Chin Marrinez, et al. v. Dole Food Co., Inc., et al.
24. BC403514 Roberto Gonzalez, et al. v. Dole Food Co., Inc., et al.
25. BC403430 Luis Hemandez Moreno, et a]. v. Dole Food Co., Inc., et al.
26. BC403452 Dcrvz`d Masa Arauz, et al, v. Dole Food Company, Inc., et al.
27. BC403512 Carlos Munoz Barria, et al. v. Dole Food Co., Inc., et al.
28. BC403506 Narciso Pinedo, et al. v. Dole Food Co., Inc., et al.
29. BC403513 Hugo Salino Valdes, et al. v. Dole Food Co., Inc., et al.
30. BC4033 62 Edwin Soli.s' Villareal, et al. v. Dole Food Co., Inc., et al.

 

 

 

4. Under CAFA, “[t]he district courts shall have original jurisdiction of
any civil action in which the matter in controversy exceeds the sum or value of
$5,000,000, exclusive of interest and costs, and is a class action in which . . . any
member of a class of plaintiffs is a foreign state or a citizen or subject of a foreign
state and any defendant is a citizen of a State.” 28 U.S.C. § 1332(d)(2)(B).

5. Also under CAFA, “a mass action shall be deemed to be a class action
removable under paragraphs (2) through (10) if it otherwise meets the provisions of
those paragraphs.” 28 U.S.C. § 1832(d)(11)(A). Here, each of these actions is

properly removable under CAFA on the following grounds:

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, andl446 (Class Action}

 

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a. Collectively, there are more than 100 plaintiffs in these actions.
28 U.S.C. 1332(d)(11)(B)(i). More specifically, plaintiffs in these thirty cases
are 2,485 citizens of Panarna, Costa Rica, Honduras, and Guatemala. There
are more than 100 plaintiffs from each country.l

b. A review of plaintiffs’ identical complaints indicates that the total
“matter in controversy exceeds the sum or value of $5,000,000, exclusive of
interest and costs,” 28 U.S.C. § 1332(d)(2), and further indicates that the
matter in controversy for each plaintiff “exceeds the sum or value of $75,000.”
Id. ; 28 U.S.C. § 1332(a); See also Ellenberger v. Spartan Motors Chassis, Inc.,
519 F.3d 192, 200 (4th Cir. 2008) (holding that it is “inappropriate for the
district court to have required a removing party's notice of removal to meet a
higher pleading standard than the one imposed on a plaintiff in drafting an
initial complaint.”). Each plaintiff alleges that as a result of exposure to the
chemical pesticide DBCP, he “suffer[s] sterility and other serious injuries,” Pl.
Cmpl. at 1[ 11, and seeks special, general and punitive damages, Id. at 1111 110-
112. Thus, this Court has jurisdiction over each and every plaintiff because
each plaintiff satisfies the “jurisdictional amount requirements under
subsection (a).” 28 U.S.C. § 1332(d)(11)(B)(i).

c. Plaintiffs assert personal injury claims arising from their alleged
exposure to DBCP, as such, their claims involve common questions of law and
fact 23 U.s.C. § 1332(¢1)(11)(13)(1);' See ana e.g., P1. cmpi. ar 11 1.2

d. This is an action in which a least one of plaintiffs is a citizen or

subject of a foreign state and at least one defendant is a citizen of a State.

28 U.S.C. § 1332(d)(2)(B). More specifically:

 

l There are 461 plaintiffs from Costa Rica, 389 from Guatemala., 673 from Honduras, and

962 from Panama.

2 Other than the names of the plaintiffs, the complaints are identical in all thirty actions.

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, andl446 (Class Action)

 

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i. Plaintiffs in these thirty actions are all citizens of Panama,
Costa Rica, Honduras or Guatemala, sea e.g., Pl. Cmpl. at 11 11;

ii. Defendant Dow Chemical is a Delaware corporation with its
principal place of business in Midland, Michigan. ]d. at` 25.
e. Fewer than one-third of plaintiffs (indeed none of plaintiffs) are

citizens of Califcrnia. 28 U.S.C. l332(d)(3). Id. at ‘l[ 11.

f. Fewer than two-thirds of plaintiffs (indeed none of plaintiffs) are
citizens of California and none of their alleged injuries were incurred in this

State. 28 U.S.C. l332(d)(4). Id. at 111 6, 11.

6. The time within which Dow Chemical must file this thice of Removal
under 28 U.S.C. §1446(b) has not expired. None of the defendants Was served prior
to December 10, 2008.

7. Under CAFA, the presence of citizens of this State as defendants does
not preclude removal. 28 U.S.C. § 1453(1:)) (“A class action may be removed . . .
without regard to whether any defendant is a citizen of the State in which the action
is brought[.]”).

8. Under CAFA, a defendant may remove without the consent of all
defendants 28 U.S.C. § 1453(b) (“such action may be removed by any defendant
without the consent of all defendants”).

9. Copies of all process, pleadings and orders served on defendants is
attached as Exhibit A.

WHEREFORE, Dow Chemical respectfully prays that the Court take

jurisdiction over this action _in its entirety until its conclusion.

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, and1446 (Class Action)

 

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DATED: January 8, 2009

 

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-FILICE BROWN EASSA & l\/IcLEOD LLP

and

SCHIRRMEISTER DIAZ-ARRAS"TIA BREM LLP

B :
y R . 1 E 111
NICHOLAS D. KAYHAN
RICHARD H. POULSON

and

l\/.[ICHAEL L. BREM

Attorne s for Defendant
THE D W CHEMICAL COl\/[PANY

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, andl446 (Class Action)

 

Case 2:09-cV-00193-CAS-VBK Document 1 Filed 01/09/09 Page 10 of 65 Page |D #:10 ~

EXHIBIT A

    
  
 
 
  

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_' WALTER ll. LACK, ESQ. SBN 5

   

 

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CASE NAME: ACOSTA CORTES, et al. v, DOLE FOOD COMPANY, I'NC.,

 

 

 

 

 

 

 

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exceeds 825,000) $25,000 or less) (Cai. Rules of Court, rule 3.402) cape

 

 

items 1-6 below must be completed (see instructions on pape 2).

 

 

‘l. Check one box below for the case type that best describes this case:
Auto Tor't C°l'\fra°f Provlsionally Complex Civil Litigatlon
wm (22) . [::l gmac-h of mntra¢ywa,»ramy (05} (Cal. Rulos of Court, rules 3.400-3.403)
uninsured motorist (46) l::l Rule 3.740 collections (09) l::l Antitrusti`l'rade regulation (03)
Othor P|iPDiWD (Pel'sonal In]uryiProperty [:l Olher collections (09) l__-:l Constniction defect (10)
Damagel\l'llrongful Death) Tort E wsm-ama coverage (13) :| Mass tort (40)
AS“€‘S‘°S 109 i::l olher eenlraei ran [:i securities llllgallen 1231
Pl°du°t liablth (24] Reai Property Envlronmentali'i'oxlc tort (30)
M°dl°al malpractice l45) l:l Eml“e“i domal“l'im'eise insurance coverage claims arising from the
l::l other PerorWD (23) condemnation ii‘i) above listed prevleleeally eemplex ease
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wrenerel lermleellen (36} [_':l writ er meedere lozl
Other employment (15) l:] Other judicial review @9}

 

 

2. This case §§ is l:~] is not complex under rule 3.400 of the Caiifornia Ruies of Court. if the case is complex. mark the
factors requiring exceptional judicial management

a. El targe number of separately represented parties d. l:§] Lal‘ge number of witnesses

b. l___}_!:l E)ciensive motion practice raising difficult or novel e. l::l Coordlnatlon with related actions pending in one or more courts
issues that will be lime-consuming to resolve in other counties, states, or countries, or in a federal court

c. l:il Substanfial amount of documentary evidence f. l::l Substentlai postjudgment judicial supervision

 

 

 

 

3. Romedies sought (oheck ali that appiy}: a.l:Xl monetary b.l:_:i nonmonetary; declaratory or injunctive relief c. lj:|punltive
4. Number of causes of action (specilj/): 9 -
5. This case l::l is is not a class action suit :_. _ . . .,
6. if there are any known related cases. file and serve a notice of related case. (You a use form C - 5.)
oer§: oesember 3, 2003
iii Walter J. Lack, Esq. b .
-" UYPE OR PRINT NAME) (SIGNATURE OF PARTYM ATFORNEY FOR PARTY)
rel NoTlcl-: ‘-'

L laintiff must file this cover sheet with the tirst paper filed in the action or proceeding {except small claims cases or cases iiied
‘ nder the Probate Code, Family Code, or Welfare and institutions Code). {Cal. Ftules of Court, rule 3.220.) Failure to file may result
.r‘.,ln sanctions.

Q,’;Fl|e this cover sheet in addition to any cover sheet required by local court rule.
§iif this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding

v Unless this is a collections case under rule 3.'!40 or a complex case, this cover sheet will be used for statistical purposes only m

 

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CaSe 2:09-CV-00193-CAS- Document 1 Filed 01/09/09 912 of 65 Page lD #: 12

|NSTRU NS ON HOW TO COMPLETE THE C SI-lEET cM 010
~ To Plalntiffs and Others Fl|ing First Papers. if you are li|ing a first paper (for example. a ccmp|ainl) in a civil case. you must
_ complete and Hle, along with your first paper, the Civll Case Cover Sheet contained on page ‘i. This information will be used to compile
' statistics about the types and numbers of cases tiled. You must complete items 1 through 6 on the sheet. ln item 1. you must check
'.i one box for the case type that best describes the oase. li the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. lf the case has multiple causes of action. check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Faiiure to his a cover sheet with the nisi paper died in a civil case may subject a partyl

its counse|. or both to sanctions under rules 2.30 and 3.220 of the Califomla Rules of Court.

To Parties in Ru|e 3.'!40 Collections Cases. A "collsctions case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25.000, exclusive of interest and attorney's fees, arising from a transaction in
which prcpeity, services, or money was acquired on credit A collections case does not include an action seeking the following: ('i) tort
damages. (2) punitive demages, (3) recovery of real property. (4) recovery of personal property, or (5) a prejudgment writ of
attachment The identification of a case as a rule 3.740 collections case on this form means that lt will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading A rule 3.?40 collections
case will be subject to the requirements for service end obtaining a judgment in rule 3.740.

To Parties in Complex Cases. in complex cases on|y. parties must also use the Clvii Case Cover Sheel to designate whether the
case is complex. |f a plaintiff believes the case is complex under rule 3.400 of the Ca|ifornia Rules of Courl, this must be indicated by
completing the appropriate boxes in items 'i and 2. lf a plaintiff designates a case as comp|e)l. the cover sheet must be served with the
complaint on all parties to the action. A defendant may tile and serve no iater than the time ot its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation. a designation that

 

 

 

the case is complex.

Auto '!'ort

Auto (22)-Personal ln]urylProperty
DamageiWronglu| Death

Unlnsured Molorlsl (46) (if the
case involves an uninsured
motorist claim subject to
arbiimtion, check this item
instead ofAuto)

Othor P|lPDlWD (Personal lnjuryl
Propa:'ty DamagelWrongful Death)
Tort

Asbestos (04)

Asbestos Properly Damaga
Asbestos Personai |n]uryl
Wrongful Death

Product Llab||ity (not asbestos or
toxic/environmental) (24)

lv‘ledlca| Maipractlce (45}

Medlca| Malpractice-
Physicians & Surgeons

Olher Professicnal Hea|th Care
Ma|praclice

Olher P|lPDlWD (23)

Premlses l.labiiity {e.g., slip
and fali)

intentional Bodlly lnjuryiPDiWD
(e.g.. assault, vandalism)

intentional lnll§clion of
Emotionai Distress

Neg|igent lniiictlon of
Emotional Distress

Other P|lFDIWD

Non-PllFDlWD (0thar) Tort
Buslness Toriltlniair Buslness
Pracllce (07)

Clvii nghls (e.g.. dlscriminat|on,
false arrest) (noi civil
harassmeni) (OB)

Deiamation (e.g.. slander. llbe|)

lla)

reud (16)

_ tellectual Property(‘l&)

_ cfessional Neg|lgence (25)

jt l.egal Malpraotlce

__ Oiher Professlonal Ma|praciice

ii`-_[ (not medical or legel)

= ther Non~PiiPDlWD Tort (35)
Empl 'yrnent

.Wrongfui Termination (36)

Mtiier Employment (15)

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cM»olo inev. duly 1. zoo'r]

CASE TYPES AND EXAMPLES
Contract
Elreach of ContracllWarranty {06)
Breach of Rentalil.sase
Contract (nol unlawful detainer
or wrongful eviction)
Contract/Warianty Breach-Sel|er
P|aintlif (noi fraud or negligence}
Negiigenl Breach of Contractl
Warranty
Olher Breech of ContmcUWarraniy
Colieclions (e.g., money owed. open
book accounts} (09)
Colleclion Caso-Seller Piainliff
Other Promlssol'y NotelColleclions
Case
insurance Covsrage (not provisionally
complex) (‘i B)
Aulo Subrogalion
Other Coverage

Olher Contract (37)
Contractuai Fraud

Other Contract Dlspule
Real Proparty

Eminent Dorn alnllnverse
Condemnatlon (14)

Wrongiul Eviclion (33)

Olher Real Proper'ly (e.g., quiet iitle) (26)
Writ of Possesslon of Reai Preperty
lvlortgage Foreclosure
Clulet T|t|o
other Reai Property {not eminent
domaln, landlordlienant, or
foreclosure)

Unlawfui Detainer

Commercia| (31)

Residentia| (32}

Drugs (38) (il` the case involves illegal
drugs, check this llem; otheovlse,

report as Commsrclal or Rssi'denilai)
Judic|al Review

Asset Foi'feilure (05)
Petltion Re: Arblll'alion Award (11)
Writ of Mandate (02)
ert-Admirilstrative Mandamus
Writ-Mandarnus on l.lmllod Court
Case Maiter
Writ-Olhei' limited Court Case
Review
Olhor Jucliclal Revlew {39)
Rev|ew of Hea|th Oilicer Order
Notlce of Appeai-l.abor
Commissioner Appeals

C[VIL CASE COVER SHEET

Frovisionally Complex Clv|| thigation (Cal.
Rules of Court Rules 3.400-3.403)
AntitrusllTrade Reguiatlon (03}
Ccnstruc_tlon Delecl (10)
Clalms involving Mass Tort (40)
Securilies Litigalion (28)
Environmenta|lfoxlo Tort (30)
insurance Coverage C|aims
(arlsing from provisionally complex
case type listed above) (41)
Enforcemont of Judgmont
Enforcement of Judgmenl (20)
Abstract of Judgment (Out of
Counly) _
Confesslori of Judgmenl (non-
domestic rslations)
Sister State .ludgment
Adrnlnistralive Agency Award
(n cl unpaid taxos)
PetllicniCei-litication of Entry of
.iudgmenl on Unpald Taxe$
Oth%;étgorwment of Jucigment

lllliscsllanoous Clvii Complaint
RlCO (27)
Othel' Compialnl (nol speciiied
above) (42)
Dec|aratory Relief Orliy
injunctive Reiief Only (ncn»
haressmenl)
Mechanlos Llen
Other Commercial Cornplaint
Case (non-tortinoc-ccmplax)
Other Clvii Complalnt
(non-iortlnon-complex}
Mtscollanaous Clvii Potltlon
Partnership and Corporate
Governance (21)
Other Petltlon (not specified
above) (43)
Clvii Harassmenl
Workplace Vlolence
EIderlDependent Adult
Abuse
E|ection Contest
Pelit|on for Nalne Chenge
Petition for Relief From Laie
Claim
Other Civi| Pelilion

@EB l"lgo 2 cf 2

Case 2:09-cV-00193-CAS‘ Document 1 Filed 01/09/09 ve 13 of 65 Page |D #:13

 

SHORT YiTLE: CASE NUMBER
ncos'rit coRTEs. en al. v. ooLE Fooi) coMPANY. :Nc.. et al. B C 40336

 

 

 

CiViL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCAT|ON
(CERTiFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

This form is required pursuant to LASC Local Ru|e 2.0 in all new civil case filings in the Los Angeles Superlor Court.
item i. Check the types of hearing and t"iii in the estimated length of hearing expected for this case:

 

 

 

 

 

JuRY TRiAL? vEs ci_Ass AcTioN? l:]YEs LiMiTEo cASE? EYES TlME ESTiMATED FoR TRiAi. 90 iii Lig§i'\"$: DAYS
item it. Seiect the correct district and courthouse location (4 steps - if you checked "Limited Case", skip to item ill, Pg. 4):

Step 1: After first completing the Civi| Case Cover Sheet Forin, find the main civil case cover sheet heading for your case in
the left margin below, and, to the right in Coiumn A. the Clvii Case Cover Sheet case type you selected
Step 2: Check mg Superior Court type of action in Coiurrin B below which best describes the nature of this case.

Step 3: in Coiumn C, circle the reason for the court location choice that applies to the type of action you have checked
For any exception to the court iocation, see Los Ange|es Superior Court Loca| Ruie 2.0.

 

 

Appllcabie Reasons for Choosing Courthouse Location (see Co|umn C below)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Clase Actions must be filed in the County Courthouse. Centra| Districi. 6. Location of prope or permanently garaged vehicle.
2. Nlay i:_)e med iii Ceniral (Othe_r county. or no Bodily lniurylPropeity Damage}. 7. Locatton where_pe lloner resides _
3. Location where cause of action arose. 8. Locaiion wherein defendant!res ondent functions wholly.
4. Locatlon where bodily injury, death or dama e occurred 9. i_ocaiion where one or more of he Earhes reside.
5. Locafion where performance required or de endant resides 10. Location of Labor Commissioner O ce.
Si.'ep 4: Fiil in the information requested on page 4 in item lii; complete item iV. Sign the declaration.
A - B C
civil Case Covor Sheet Type of Aotion Appiicab|e Reasons -
t Category No. (Check only one) See Step 3 Above
o
'; Autc (22) Cl A?tOO MoiorVehicle- Peraonai in]urylProperty DamageJWrongfu| Death 1a 2_` 4‘
q-i
:i
< Uninsured Motorist (46) i:i A7110 Peiscna| lnjurylProperty DamagelWrongfui Death - Uninsured Motorist 1., 2., 4.
m
l:l A6070 Asbestos Property Damage 2.
§ 1-_' Asbesws (04) l:i A722'| Asbestos-Persona|lnjuryNVrongfulDeaih 2_
33 7
§ § P'°duct Uabmty (24) i:l A7260 Product Liab|llty (not asbestos or toxicienvironmenial) 1., 2.. 3.. 4.. B.
§§ iI|A7210 Mdi iNii ii Phii &S 124
_E § Medica| Ma|prac“ce (45) s ca a prac ce- yscans urgeons ., .. .
§ g |I] A124o other Professionai i-iea:ih care Maipraciine 1__ 2_, 4_
g 0
3 § EJ A'rzso i=remises Liabiiiiy(e.g..siip andfaii) 1 2 4
\- ': 'l
q°_ 9 Ou"er l:i A7230 intentional Bodiiy iniury}i=’roperty DainageiWrongiul Death (e.g.,
\» g Pers°naun]uw assault vandalism etc)
0 § Prcperty Damage ' ' ' t.. 2.. 4.
§ g Wrongfut Death ij A7270 intentional Iniiiction of Emotional Distress 1 2_ 3_
(23} {Ii Arzzo other Personai lnjuryri=roperiy oamageiwmngmi oeaih __ 2 ' 4_
>. § _
§ l- Busi"ess T°d gm [.'.] A6029 Other Commercia|iBusiness Tort (notfraudlbreach of contract) 1., 2.. 3.
o. ..¢:
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m
§ 3 C“'“ R‘g'“$ (°3} ij Asoos civil Rigmsioiscriminaiion 1., 2.. 3.
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E‘ ‘5, :i D"’ama“°“lm ' ij Asoio oeiamaiionisiandericibei) i.,z.,a.
: = i_‘.
§§ 9 § i:;aud (15) i:] A6013 Fraud (no contraci)
3 § ;i-i i., 2.. 3
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s §
2 n § .
§§ LAoiv ma (Rev.oiio?) ClVlL CASE COVER SHEET ADDENDUM LASC. rule 2.0

LAsc App:oved 03»04 AND STATEMENT OF LOCATION Page 1 oi4

Case 2:09-CV-00193-CAS-.` Document 1 Filed 01/09/09 de 14 of 65 Page |D #:14

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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§ § shoRrTmE: cAsE NuMaER
g ACOSTA CORTES, et al. v. DOLE FOOD COMPANY, INC., et al.
z -.';`
§§ C| I|C § 8 c
§ § Shve°t :::Bg::;;q° Tpr of Actlon Appilcab|a Reasons
-§_ a - (Chock oniy one) -399 Sfep 3 Ab°V°
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'E .r.:
_ v
a 3 Pf°*@_$$'°“a' EE Aem? L¢.=,gas Malpmcuoe 1.,2.,3.
g n Neghgence
§ § (25) 13 Aeosc other Professiona! Malpractioe (not medical or zegaz) 1-»2~»3'
4 E‘
§ § Other(35) |:! A6025 ther Non-Personal InjurylProperty Damagetort 2.,3.
wm
w \
§ W'°"qu‘(;§)"mma“°n [:] A6037 Wrongf\.¢|Termination 1-» 2--3-
§
§ O‘“e'E{';‘§)'°W“°"‘ l] A6024 other Employment complaint case 1., 2.. 3.
uE.: [] A6109 Labor CommlsslonerAppea|s m
greach o[comra¢u L_.| A6004 Breach of RentallLease Contract (not Unlaw!`u| Dela|ner or wrongful eviction) 2_l 5_
W"=;g§)““' E] Aeoos canvacuwarramy mach -Seuer Plalnzasf<nofraudmegligence) 2_,5_
(notinsurance) \:! A6019 Negllgent Breach ofContract!Warranty {no fraud) 1_,2' 5_
g ij A6028 Other Breac?\ of Contrac!!Warranty (not fraud ornegllgence) 1_. 2_| 51
2
w
: _ .
o Co“ecuons ij A6002 Col¥ections Case Seiler Plalnflff 2.. 5.l 6.
o (09) 311 A6012 omerpmmsssary Note;cone¢uons case 2_ 5
'ns“ra“°a§°"e'age 1:| A6015 lnsuranse Coverage (noicomplex) 1., 2..5..8.
ether gong-aci I:! A6009 Contractqu Fraud 1_, 2_, 3_' 5_
(37) E A6031 Tonlous lmerrerence 1.,2., 3.. 5.
\:\ A6027 Other Contract Dispute(not breachlinsurance!fraudlnegligence) _ 1., 2.. 3.. B.
Eminent
mcgraw/inverse ij A?300 Em|nanlDomainlCondemnalfon Number of parcels . 2.
§ Condem_nation (14)
3
§ W'°“ggal;§“'i°“°“ Cl A6023 Wrongful Evictlon Case 2-. 5-
a.
¢_u _
§ Other Reai Pr°ped_y [] A6018 Mortgage Forec|osure 2.. 6.
(26) EJ Asoaz outemue 2_' 6'
j 13 ASOBO Other Real Property {not eminent domaln. landlord/tenan|. foreclosure) 2 6
§ ,
'- Unlawiul Detalner-
§ Commerda] (31> Cl A6021 Uniawful Detainer-Comrnerclal (not drugs or wr?ngful evicllon) 2.. 6.
¢.'.'l
'5 Unlawful Detainer~ _ . .
§ Res¥denua| (32) 1111 Aeozo unlawfu\ oe¢ainer Res;denual (not drugs orwrongru:evlcnon) 2.. 6.
2 ‘i
: 4, UniawfulDelainer~ _
:, §§ Dmgs (38} l:l A6022 Unlawfu|De!ainer Drugs 2,,6.
3 "j§
§ ;_|-;; ASS¢¢F°rf@itu,-e(%) l:l A6108 AssetForfeiiure Case 2,,6.
m 43 . .
§ =C Pet'"°“'e Nb“'a“°" [3 A6115 Petmontu compellcon§rmvaca¢e Arn:tration 2,, 5,
m §
j :'€§
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LAsc Approved ocs-04 AND STATEMENT OF LOCAT|ON Page 2 of4

 

Provisiona||y Comp|ex

Enforcement

Misce|laneous Civi|

Misce||aneous Civil Petitions

Judicia| Review (Cont'd.}

itigation

of Judgment

Comp|aints

CaSe 2:09-cV-00193-CAS-‘ Document 1 Filed 01/09/09 ve 15 of 65 Page |D #:15

 

SHORT TSTLE:

ACOS'Z'A CORTES, et al. v. DOLE FOOD COMPANY, INC., et al.

GASE NUMBEF!

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cialms from Complex

 

 

 

C] A6160 Abstract of.ludgment

 

 

A B C
Clvii Casa Cover S!\eet Typo of Actlon Appilcable Reasons -
Category No. {Check only ono) See Step 3 Above
m A6151 Wr§t - Adminlstrative Mar\damus 2__ 3_
Wri! of Mandate ij A6152 Wril- Mandamus on limited Court Case Matter 2_
{02) 121 A6153 writ - olher umwa conn case Review 2
ether J“?;°§)*l Re""“‘" I“_“§ mac otherwriu.mdicial Review 2.. a
...'_-_...._--_-_'--.........=
AntilrusUTrade .
Regu!auon (03) |:l ASDOS AntltrusvTrade Regula\lon 1.. 2.. 8
C°"S‘“‘°“°“ DE{€°‘(’°) [J Aeom construction defect 1., 2.. 3.
Clalms |nvo|v|ng Mass -
Tm (40> l'_°] Aeoos claims lnvolvmg Mass Tort 1.` 2.. a.
ge¢um[es nga¢[o-n (23) l:l A6035 Securit|es th|gation Case 1 2 8`
Toxic Tort '
Emiwnmenta| (30} 31 A6036 Toxlc Tort/Env|ronmental 1., 2., 3.. B.
‘“sma“°e C°Ve'age ij A6014 |nsurance CoveragelSubrogal|on (comp|ex case on|y) 1., 2., 5.. 8.

Case (41)
ij A614'1 Slsler State Judgment 2.. 9.

 

 

 

 

 

 

 

 

LASG Approved 03-04

AND STATEMENT OF LOCATION

Enforcement 2" 6'
of Judgment E] A610? Confess!on ofJudgmenl(non~domeslicrelatlons) 2..9_
(20) [:§ A614D Admin|strailve Agency Award (not unpaid taxes) 2 8
113 Asm Peuuowcemncatewremry ofau¢gmemon unpaid Tax _ 2'8
13 A5112 Other Enforcamentofdudgment(}ase -2"8` 9
=` w l
R|CO(z-,q 113 Asoaa Rackareersng (Rlco)case 1,,2_,3_
|Il Aeoao Dec!aratory Reriefonly 1.,2.,a.
Olher{.‘._omp|aints |:] A6040 In]unctive Re!iefOnty (notdomesliclharassment) 2_'3,
(Notspemned Above) [:l A6011 OtherCommercialCompiaintCase(non~\onlnon-complex) 1_,2_,3.
(42) \:| AGOOO Other ClvllComptaint{nnn-iortlnon-comp|ex) 1_,2"8_
Panr\ership Corporaf|on l:] A6113 Partnershlp and Corporale Governanoe Case 2,, 8,
Govemanoe(21)
EJ Ae121 clvnHarassmem 2_‘ 3__9_
[] A6123 Workp|ace Harassment 2_,3'_9_
l:l A6124 Elder/DependensAdu;zAnuse case 2 3 9
. OtherPetllfons " " '
§ {Not Specmed Above) ' m AS'|QO Elecuon conlesi 2|
§§ (43) El Ae110 Pennanforchange emma 2 7
,.,J" ij Ae170 Petiuonfornessenwm me cla\m Law 2'3 4 8
FY§ lII A6100 othercivilpeti:wn 2" " " `
ssi ., 91
_;`
iii
§§ LAc\\/109(Rev.o1ro1) C|V|L CASE COVER SHEET ADDENDUM LASC, rule 2.0

Page 3 of4

 

Case 2:09-cV-00193-CA85K Document 1 Filed 01/09/09 ‘ge 16 of 65 Page |D #:16

 

SHORT TlTLE! CRSE'NUM BER
ACOSTA CORTES, et al. V.’. DOLE FOOD COMPANY, INC., et al.

 

 

 

 

item ilt. Statement of Location: Enter the address of the accident party's residence or place of business, perfonnance, or
other circumstance indicated in item lt., Sfep 3 on Page 1, as the proper reason for filing ln the court location you selected

 

REASON: CHECK THE NUMBER UNDER COLU MN C ADDRESS:
One Dole Dr .
Wi-thl-| APPL|ES iN TH§S CASE

U‘l. EZ|Z. |:13.134. l:lS. Cl6. E?. EBS. UQ. El10.

ClTY: STATE: Z|P CODE:
westlake Village CA 913 62

 

 

 

 

 

 

 

hern lV. Deciaratlon ofAssignment: l declare under penalty of perjury under the laws of the State of Ca|ifornia that the foregoing is

true and correct and that the above-entitled matter is property liled for assignment to the bee Angelee courthouse in the
Cencral D|strict of the Los Angeies Superior Court (Code Civ. Proc., § 392 et seq., and LASC Locai Ruie 2.0,

subds. (b), (c) and (d)). w

(Sl R 0 Fl Fl TY

Walter J. Lack, Esq.

Dafed: December 8, 2008

 

PLEASE HAVE THE FOLLOW|NG lTEMS COMPLETED ANB READY TO BE F|LED IN ORDER TO
PROPERLY CGMMENCE YOUR NEW COURT CASE:

 

 

 

Original Compiaint or Petition.

if filing a Cornplaint, a completed Summons form for issuance by the Clerk.

Civil Case Cover Sheet form CM-O‘l 0.

Cornplete Addendum to Civil Case Cover Sheet form LAClV 109 (Rev. 01107), LASC Approved 03-04.
Payment in full ofthe filing fee. unless fees have been waived

Signed order appointing the Guardian ad Litem, JC form Ft.-»935. if the.piaintlff or petitioner is a minor
under 18 years of agel or if required by Court.

9"$"'?‘$*’!°:"‘

7. Additional copies of documents to be conformed by the Cierk. Copies of the cover sheet and this addendum
must be served along with the summons and complaintl or other initiating pleading in the case.

 

 

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t`§iactv 109 mem oiior) ClV!L CASE COVER SHEET ADDENDUM LAsc. rule 2.0

LAsc Approved 03-04 AND STATEMENT OF LOCAT|ON Page 4 of 4

 

_ _ Case 2:09-cV-00193-CAS- ` Document 1 Filed 01/09/09 ve 17 of 65 Page |D #:17

sum-100
SU ONS so FoR counruseom.v
a (crrAcroN JuoiciAr.) ‘ 'FH‘:§ ’E'
NoTicE To oeFENoANT: _ - RCQURT
(A vrso Ar. oeMANvoo).- ms ANGELBS SU’ERIO
DOLE FOOD cOMPANY, INC.; DOLE FRESH PRUIT CoMPANY;
CHIQUITA BRANDS CoMPANY, NORTH AMERICA; cHIQUITA gin 3 n 2005
BRANDS, INC.; (SEE ATTACHMENT FOR ADDITIONAL 1
DEFENDANTS)
vou ARE elaine sueo BY PLAiNTu=F JQHW%AHKE- ci-ERK
(Lo EsrA DEMANDANoo EL oeMANoA N‘ri_=).- dib~’
JORGE ACOSTA CORTES; ANTONIO ACUNA AGUERO; GERARDO sir MARY RC|A, DEPUTY
ACUNA MU_RILLO; JAVIER RAMON AGUERO ARTAV:A; (sEE
ATTACHMENT FOR ADDITIONAL PLAINTIFFS)

 

 

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a
copy served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the
court to hear your case. There may be a court form that you can use for your response. You can find these court forms and more
information at the Californla Courts Onllne Self-Heip Conter (www. courtlnfo. ca. goviselfhelp}, your county law ilbrery, ortho courthouse
nearest you. if you cannot pay thei filing fee, ask the court clerk for a fee waiver form. lf you do not file your response on tlme, you may
lose the case by default, and your wages, money, and property may be taken without further warning from the court

There are otherlegal requirements. You may want to call an attorney right away. lf you do not know an attorney, you may want to callan
attorney referral servloe. lf you cannot afford an attornoy, you may be eligible for free legal services from a nonprofit legal services
progrem. You can locate these nonprofit groups at the Californla Legai Sorvloos Web site (www.!awhelpca|ifornla.org], the California
Courts Onlino Self~Help Center (www.courtlnfo.ca.govlselthelp), or by contacting your local court or county bar association

Tlene 30 DIAS DE CALENDARIO después de que le entroguen este citaclon y papeles legeles para presentar ama respuoste por escrito
en esta corte yhacer quo se entreguo one copia ai demendante. Una carta o ana ilemada teiefonioa no to proteg'en. Su respuesta por
escrito done que ester en formato legal correcto si desee quo procesen su case en la corte. Es posibie quo hays un formufan'o que traced
pueda user para en respuesta. Puedo encon!rar estes formufarios de la oorte y mas informaclon en el Contro de Ayuda de las Cortes de
Californie (www.courtinfo.ca.gov/seia'he!p/espanol/), en la blbiioteoa de reyes de su oondado o en la sorts que le goode mas oerca. Si no
puede pager la ouota de presenteor°dn, pr'da al secreterlo de ia cone quo le de un formulario do exenolén de page de cuotas. Sr' no presents
su respuesta a ttempo, poede porder el case per lncumpiimiento y le cone is podra quitar su sueido, dinero y bienes sin mae advertenoia.

Hay otros requisites iegales. Es recomandeblo quo items a un abogedo inmedi'atemente. SI no conoco a orr abogado, parade ilamar a un
sorvicr'o de rem!sidn a abogados. Si no parade pager a un abogado. es posible quo sample con los requisites para obterrer serviclos
legales gratuitos do un programa de servicios legatee sin fines do luoro. Puede enoontrar estes grapes sin fines de iucro en el sitio web de
Cair'fornia Legai Services, (www.l'awhe!pcalr't*orm’a.org), en el Cen¢ro de Ayuda de las Cortes de Cailfornia,
(www.couninfo.ca.gov/se!fhel'p/ospano!/) o poniéndose en contacto con le sorts 0 el colegio de abogados ioca,'es.

 

 

 

 

 

Tne name and address of the court is: ; "

(Ei nomer y direcc:‘on de la conte es): ?NZS”'E°:U$*B§;°F B C 4 0 3 3 6 4
SUPERIOR COURT - CENTRAL

111 NOR'I`H HILL STREET

LOS ANGELES, CA 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
§§ nombre, la direccion § ei ndmero do teiefono del abogedo del demandente, o del demandante que no tiene abogado, es).'
ALTER J LACK, BN 57550 310- 552 3800
ENGSTROM, LIPSCOMB & LACK.
10100 SANTA MONICA BL, 12th FL, L.A., CA 90067
Depuiy

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_ ummons, (POS-UfO)).

 

 

   
  

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mm Nonce ro THE reason s` s served
fsa.l=\*."’“m§“'\. a 1. l____l as an individual defendant
- 95t- -'- 4 ‘ 2. |:} as the person sued under the fictitious name of (specify):

    

3, l:i on behalf of (speciljr):

under i:l cce 416.10 (corporaiion) j:} ccP 416.60 iminor)
:] CCP 416 20 {defunct oorporation) :l CCP 416. 70 (conservatee)
l;:l CCP 416. 40 (associatlon or partnership) [:j CCP 416. 90 (authorlzed person}

[:I other (speciij/):

 

   

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§‘_"§‘\\l\\u`w“’*"`
h 4. i::i by personal del|very on (date):
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Form noticed ior stationary use code orcivii Procecure §§ 412.20, 465

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suM-too |Rev. Januery 1, zoo-il SUMMONS @EB

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-¢ SHORT TlTLE: case NuueER:
___ACOSTA COR.TES, ET AL. v. DOLE FOOD COMPANY, INC., ET AL.

 

 

 

 

¥NSTRUC'i'lONS FOR USE

') This form may be used as an attachment to any summons if space does not permit the listing of ali parties on the summons

~) if this attachment is used. insert the following statement in the plaintiff or defendant box on the summons: "Additionai Parties
Attachment form is attached.“ ’

List additional parties {Check oniy`one box. Use a separate page for each type ofparty.):

i:] Plainurr [X] oefenclant i:i cross-complainant \:| cross-ostendam

cHIQUITA BRANDS INTERNA'I‘IONAL, INC.;
DEL MONTE FRESH PRoDUCE N.A., INC.;
DEL MONTE FRESH PRODUCE, INC.;

DEL MONTE FRESH PRoDUcE (wEST coAsT), INC.;
SHELL cHEMcAL CoMPANY;

sHELL 01L cOMPANY;

THE now cHEMIcAL coMPANY;
CCCIDENTAL PETROLEUM coRPoRATIoN;
ocCIDENTAL cHEMIcAL coMPANY;
ochDENTAL cHEMICAL CoRPoRATIoN,-
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CCSTA CORTES ET AL. V. DOLE FOOD C . INC. ET AL.
ADDITIONAL PARTIES ATTACHMENT
Attachment to ngmons

 

 

List of Additional Plaintiffs:

TEODORO AGUERO MORA;

vICTOR HUGO AGUILAR CESPEDES;
JOSE JOAQUIN AGUILAR MONTERO;
OSCAR AGU!LAR MORA;

ALBINO AGLHLAR sOLANO;

JGSE sIMON AGUIR_RE AGUIRRE;
JOSE FRANCISCO AG{HRRE AGUIRRE;
ALF ONSO AGUIRRE VILLAGRA;
SANTOS VIANNEY AGUIRRE zUNIGA;
cLEMENTE ALVARADO RIOS;
ALCIDES ALVARADO ZAMORA;
ANGEL JULIAN ALVAREZ AGUIRRE;
ANTONIO ALVAREZ ALVAREZ;

LUIS ANTONIO ALVAREZ ALVAREZ;
JESUS ALVAREZ BUsTos-,

SIGIFREDO ALVAREZ DIAZ;

ROQUE ALVAREZ MORALES;
HERNAN ALVAREZ ROSALES;
GIOVANNI ALVAREZ RUIZ;

VICTOR mNUEL ALVAREZ vILLATORO;
JOSE ELVIS ANGULO ANGULO;
FERNANDO ARAGON MIRANDA;
SERGIO ARAGON MIRANDA;
cRISToBAL ALBERTO ARAGON RUGAMA;
MARVIN ARAYA ALVARBZ;

JOSE ANGEL ARAYA BOLANOS;
CLAUDIO ARAYA HERNANDEZ;
JUAN ARAYA 0RTEGA;

BENBDICTO ARAYA ROJAS;

JOSE DONALD<) ARCE BEJARANG;
VICTOR JULIO ARCE QUESADA;
ELIECER ARCE RETANA;

V!CTOR ARGUEDAS MUNOZ;

vIDAL ARIAS A_VILA;

j_g;ILBERTO AR.IAS MEZA;

;s§qERMn~no ARIAS PANIAGUA;

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Case 2:09-cV-00193-CAS‘K Document 1 Filed 01/09/09 699 20 of 65

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BIENVENTDO ARIAS SOLANO;

EDUARDO ARIAS VILLALOBOS;

RAFAEL ANTONIO AVILA CAMBRONERO;
HUGO AVILES JUAREZ;

RICARDO ALBERTO BALDELOMAR BALDELOMAR;
EDUARDO FAUSTO BALTODANO BALTODANO;
VIRGILIO BALTODANO DIAZ;

MERIDO BALTODANO DIAZ;

JOSE MARVTN BALTODANO ZUNIGA;
ALFONSO BARAHONA FONSECA.;

OLIVER GERARDO BARAHONA FONSECA;
HUGO BARBOZA FERNANDEZ;

AMALIO BARBOZA MENDOZA;

JOSE FRANCISCO BARQUERO BARQUERO;
JESUS MARIA BARQUERO CAMPOS;
CARLOS LUIS BARQUERO PICADO;
CARLOS LUIS BARRIOS BARRIGS;

LUIS ALVARO BENAVIDES ESQUIVEL;
JOVEL BERROCAL CHINCHILLA;

GABRIEL BERROCAL JIMENEZ;
FRANCISCO BOIORGE APU;

AGUSTIN BOLANOS MONTOYA;
GERVASIO BOLANOS MONTOYA;
RIGOBERTO BOLIVAR SILES;

RAFAEL BONILLA MADRIGAL;

SILVERIO BON'.£LLA ZUNIGA;

HERIBERTO BRAVO HERNANDEZ;

JOSE BRENES CISNEROS;

JESUS FRANCISO BRENES CRUZ;
ALEJANDRO BRENES GUEVARA;

EDWIN BRENES LEON;

CESAR AURELIO BRENES MARTINEZ;
EDGAR BRENES` MORA;

REMBERTO BRICENO MACOTELO;
BENEDICTO BRIONES GARCIA;

JOSE LEON BRIONES RANGEL;

JOSE GREGORIO BUZANO VEGA;

JOSE LU[S CALDER{)N BARBOZA;
OLDEMAR CALDERON SOLANO;

MELVIN CALVO VARGAS;

RAFAEL ANGEL CAMBRONERO GUERRERO;
JOSE ALBERTC§ CAMFOS CAMPOS;
FRANCISCO CAMPOS ZUMBADO;

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RODOLFO CARBALLO BARRIENTOS;
MARIANO CARBALLO VARGAS;
JOSE LIDIER CARDENAS GARCIA;
JUAN PABLO CARRILLO CARRILLO;
FELIX CARRILLO MATARRITA;
CAMILO CARRILLO MATARIUTA;
FRANCISCO CARRILLO OBREGON.

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WALTER J LACK (Srate Bar No 57550) -
ELIZABETH L. CROOKE (State Bar No 90305) FILED COU
ANN A. HGWI'IT (State Bar N0.169497) LOS ANGELES SUPER!OR
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Los Angeles, California 90067 BEL» _8 ZUC .D
Tel: (310) 552-3800 / Fax: (310) 552-9434

JOE J. FISHER II (Appearing Pro Hch Vice) JGOHW upi WL‘E§§?U\
MARK SPARKS (Appearz'ng Pro Hac Vice) gm
ev umw HG\A» D

PROVOST*UMPHREY LAW FIRM
P.0. Bo'x 4905

Beaumonc, TX 77704

Tel: (409) 835-6000 / Fax: (409) 838-8888

Attorneys for Plaintiffs

SUPERIOR COURT OF THE S'I`ATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

 

___ n l" 49 05 z 5 50
JORGE ACO_STA CORTES, ANTONIO CASE NO.: v o
ACUNA AGUERO' GERARDO ACU`NA
MURILLO` JAVIER RAMON AGUERO
ARTAVIA; TEODORG AGUERO MORA; COMPLAINT FOR:
VICTOR HUGO AGUILAR. CESPEDES;
IOSE JOAQUIN AGUILAR. MONTERO, 1) PRODUCTS LIABILITY-»

OSCAR AGUILAR MORA‘ ALBINO NEGLIGENCE;

AGUILAR SOLANO' 303§ SIMON 2) STRICT PRODUC'I`S LIABILITY;
AGUIRRE AGUIRRE;.]OSE FRANCISCO 3) PRODUCTS LIABILITY - DEFECT
AGUIRRE AGUIRRE;' ALFONSO AGUIRRE IN DESIGN, MANUFACTURE,
VILLAGRA; SANTOS VIANNEY AND CHEMICAL COMPOSITION;
AGUIRRE ZUNIGA§ CLEMENTB 4) PRODUCTS LIABILITY - BREACH
ALVAR.ADO RIOS; ALCIDES ALVARADO {)F WARRANTY;

ZAMORA; ANGEL JULIAN ALVAREZ 5) FRAUDULENT MANAGEMENT;

AGUIR.RB; ANTONIO ALVAREZ 6) INTENTIONAL

ALVAREZ; LUIS ANTONIO ALVAREZ MISREPRESENTATION;
ALVAREZ; JESUS ALVAREZ BUSTOS; 7) FRAUD BY CONCEALMENT;
SIGIFREDO ALVAREZ DIAZ; ROQUE 8) GENERAL NEGLIGENCE; AND
ALVA_REZ MORALES; HERNAN 9) CONSPIRACY

ALVAREZ ROSALES; GIOVANNI
ALVAREZ RUIZ; VICTOR MANUEL
A-LVAREZ VILLATORO; JOSE ELVIS
ANGULO AN GULO; FERNANDO
ARAGON MIRANDA; SERGIO ARAGON
MIRANDA; CRISTOBAL ALBERTO
ARAGON RUGAMA; MARVIN ARAYA
ALVAREZ; JOSE ANGEL ARAYA
BOLANOS; CLAUDIO ARAYA
HERNANDEZ; JUAN ARAYA ORTEGA;
BENEDICTO ARAYA ROJAS; JOSE
DONALDO ARCE BEJARANO; VICTOR
JULIO ARCE QUESADA; ELIECER ARCE

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RETANA; VICTOR ARGUEDAS MUNOZ;
VIDAL ARJAS AVILA; GILBERTO ARlAS
MEZA; HERMLNIO ARIAS PANIAGUA;
BIENVENHJO ARIAS SOLANO;
EDUARDO ARIAS VILLALOBOS;
RAFAEL ANTONIO AVILA
cAMBRONERO; HUGO AVILES JUAREZ;
RICARDQ ALBERTO BALDELOMAR
BALDELOMAR; BDUARDO FAUSTO
BALTODANO BALTODANO-, VIRGILIO
BALTODANO DIAZ; MERIDO
BALTODANO DIAZ; JOSE MARVIN
BALTODANO zUNIGA; ALFONSO
BARAHONA PONSECA; OLIVER
GERARDO BARAHONA FONSECA; HUGO
BARBOZA FERNANDEZ; AMAL;O
BARBOZA MENDOZA; JOSE FRANCISCO
BARQUERO BARQUERO; JESUS MARIA
BARQUERO CAMPOS; cARLOS LUIS
BARQUERO PICADO; cARLOS LUIS
BARRIOS BARRIOS; LUIS ALVARO
BENAVIDES ESQUIVEL; JOVEL
BERROCAL CHINCHILLA; GABRIEL
BERROCAL JIMENEZ; FRANCISCO
BOJORGE APU; AGUSTIN BOLANOS
MONTOYA; GBRVASIO BOLANOS
MONTOYA; RIGOBERTO BOLIVAR
SILES; RAFABL BONLLLA MADRIGAL;
SILVERIO BONILLA zUNIGA;
HERIBERTG BRAVO HERNANDEZ; JOSE
BRENBS cIsNEROS; JESUS FRANCISO
BRENES CRUZ; ALEJANDRO BRENES
GUEVARA; EDWIN BRENBS LEON;
CESAR AURELIO BRENES MARTINEZ;
BDGAR BRENES MORA; REMBERTO
BRICENO MAco'rELo; BBNEDICT<)
BRIONES GARCIA; JOSE LEON BRIONBS
RANGEL; JQSE GR;EGORIO BUZANO
vEGA; JOSE LUIS cALDERON
BARBOZA; OLDEMAR cALDERON
soLANo; MELVIN cALVo vARGAs;
RAFAEL ANGEL cAMBRoNBRO
GUERRERO; JOSE ALBERTO CAMP 03
CAMPOS; FRANCISCO cAMPc)S
zUMBADO; RODOLFO cARBALLO
BARRIENTOS; MAR]ANO cARBALLo
vARGAs; JOSE LIDIER CARDENAS
GARCIA; JUAN PABLO cARRILLO
CARRILLO; FELIX cARRrLLO

 

 

MATARRITA; C-AMILO CARRILLO

7 MATARRITA; FRANCISCO CARRILLO

' OBREGON,
P]aintiffs,

 

 

   

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VS.

DOLE FOOD COMPANY, INC.;

DOLE FRESH FRUI'I` COMPANY;
CHIQUITA BRANDS COMPANY, NORTH
AMERICA; CHIQLHTA BRANDS, INC.;
CHIQUITA BRANBS INTERNATIONAL,
INC.; DEL MONTE FRBSH PRODUCE N.A.,
INC.;DEL MONTE FRESH PRODUCE,
INC.; DBL MONTE FRESH PRODUCE
(WEST COAST), INC.;

SHELL CHEMICAL COMPANY;

SHELL OIL COMPANY; THE DOW
CHEMIG=AL COMPANY; OCCIDENTAL
PETROLBUM CORPORATION;
OCCIDENTAL CHEMICAL COMPANY;
OCCIDENTAL CHEMICAL `
CORPORATION, and DOES 1 through 100,
Inclusive, _

 

Defendants.

 

 

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COMES NOW Plaintit’fs and bring this action against the Defendants, DOLE FOOD
COMPANY, INC.; DOLE FRESH FRUIT COMPANY, CHIQUI'I`A BRANDS COMPANY,
NOR'I`H AMERICA; CHIQUITA BRANDS, INC; CHIQUI'I`A BRANDS INTBRNATIONAL,
lNC.; DEL MON’I`E PRESH PRODUCE, INC., DEL MONTE FRESH PRODUCE N.A., l'NC.,
DEL MONTE FRESH PR.ODUCE (WEST COAST), INC.; SHELL OIL COMPANY (AND
SHELL OIL USA), SHELL CHEMICAL COMPANY; THE DOW CHEMICAL COMPANY,
OCClDENTAL PETROLEUM COMPANY, OCCIDENTAL CHEMICAL COMPANY and
OCCIDENTAL CHEMICAL CORPORATION; and DOES l through 100, inclusive, and allege
as follows: _ n

NATURE OF THE CASE .

1. This lawsuit is brought by Plaintiffs, who Were injured by exposure to 1, 2~

dibromo-B-chloropropane (“DBCP”), a highly toxic chemical pesticide, which was also sold
`. under the brand names “Nemagon” and “Fumazone”, designed, manufactured marketed,

v.- distributed and sold by SHELL OIL COMPANY (AND SHELL OIL USA), SHELL

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COMPLAINT

 

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CHEMICAL COMPANY, THE DOW CHEMICAL COMPANY, OCCIDENTAL
PETROLEUM CORPORATION, OCCIDENTAL CHEMICAL COMPANY and
OCCIDENTAL CHEMICAL CORPORATION, (collectively, “CHEMICAL DEFENDANTS”).
CHEMICAL DEFENDAN'I`S are some of the nation’s largest chemical manufacturers,
producing within the borders of the United States, in excess of 80% of all chemicals used in the
United States and abroad. This lawsuit is brought by Plaintiffs who were injured by the release
of DBCP into the environment as a result of the operation of banana plantation farms in Central
Arnerica by DOLE FOOD COMPANY, INC., DOLE FRESH FRUIT COMPANY, CHIQUITA
BRANDS COMPANY, NGRTI~I AMERICA; CHIQUITA BRANDS, iNC., CHIQUITA
BRANDS INTERNATIONAL, INC.; DEL MONTE PRESH PRODUCE (WEST COAST)
INC.; DEL MONTE FRESH PRODUCE, INC. and DEL MONTE FRESH PRODUCE N.A.,
INC.; (collectively, “BANANA FARM DEFENDANTS”).

2. At all relevant times, Plaintiffs were workers on banana plantation farms owncd,
managed, administered, or controlied by BANANA FARM DEFENDANTS, located in and
around Costa Rica.

3. During those years, the above-mentioned plantation farms were owned, managed,
administered, controlled or managed by BANANA FARM DEFENDANTS, with the
administration realized by their officials and administrators from the United States under
agreements executed with the landlords of those above~mentioned plantation farms 'I`he
managers presided over the work of the Plaintir`fs, who handled the harvesting and cropping of
the banana production, a comprehensive process that included planting banana trees; work and

labor activities for the application of fertilizers and pesticides; and the iumigation, harvesting

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and packaging of the final banana product in boxes and bags for exportation to, and sale in,
foreign countries

4. Plaintiifs, as daily workers on the banana plantation fanns, were exposed to
DBCP, designed, manufactured marketed, distributed and sold in and from the United States by
anMICAL DEFENDAN'rs. peer to a higth toxic and poisonous posaoido whioh soo soon
alleged to cause sterility, testicular atrophy, miscarriages, congenital reproductive outcomes,
liver damage and various forms of cancer in humans when absorbed by the skin or inhaled. 'I`he
pesticide was sold under its generic narne, DBCP, and the brand names Nernagon - designed,
manufacturedj marketed, distributed and sold by SHELL OIL COMPANY, SHELL CHEMICAL
COMPANY, OCCIDENTAL PETROLEUM CGRPORATION, OCCIDENTAL CHBMICAL
COMPANY and OCCIDENTAL CHEMICAL CORPORATION - and Furnazcne _ designed,
manufactured, marketed, distributed, and sold by THE DOW CHEMICAL COMPANY,
OCCIDENTAL PETROLEUM CORPORATION, OCCIDENTAL CHEMICAL COMPANY
and OCCIDENTAL CHEMICAL CORPORATION. The pesticide was banned from general use
in the United States by the Environmental Protection Agency (“EPA”) in 1979, but CHEMICAL
l)EFENDANTS continued to distribute DBCP to BANANA FARM DEFENDANTS for use on
banana plantation farms in Central Arnerica, including those specifically mentioned herein and
others in Costa Rica.

5. Piaintiffs are informed and believe and, on that basis, herein alleged that
CHEMICAL DEFEN`DANTS did not utilize due care when continuing to distribute DBCP from

the United States to banana plantation fanns in Costa Rica. Plaintifl`s are informed and believe

»`_i and, on that basis; herein allege that CHEMICAL DEFENDANTS knowingly and willfully

distributed DBCP after receiving notice of its ban in the United States by the EPA and its highly

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COMPLAINT

 

 

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toxic cffects, particularly its causing sterility. In addition, l’laintiffs are informed and believe
and, on that basis, herein alleged that BANANA FARM DEFENDANTS knowingly and
willfully exposed Plaintiffs to DBCI’ and its highly toxic effects after receiving notice of its ban
in the United States by the EPA. CHEMICAL DEFENDANTS eventually ceased distribution of
DBCP to plantation farms, and BANANA FARM DEFENDANTS eventually ceased application
ofDBCP at such plantation farms. After such distribution and application ceased, however, the
Plaintiffs suffered physical and mental injuries as a result of their exposure to DBCP.

6. Plaintiffs were exposed to DBCP designed, manufactured marketed, distributed,
sold, or purchased by DEFENDANTS for application on banana plantation farms throughout
Central America, including those specifically mentioned herein and others in and around Costa
Rica. As a result of this exposure to DBCP, Plaintiffs suffered serious injuries

JURISDICTION 'AND VENUE

 

7 . This Court has jurisdiction over this matter based on the fact that Defendant,
DOLE FOOD COMPANY, INC., at all times relevant hereto, had its principal places of business
in Los Angeles County, California, in which the decision makers for said BANANA FARM
DEFENDANT conduct and oversee its daily affairs

8. Rernaining DEENDANTS are properly joined in this action under the California
Rules of Civil Procedure. The claims against DOLE FRESH FRUIT COMPANY, CHIQUITA
BRANDS COMPANY, NORTH AMERICA; CHIQUITA BRANDS, INC; CHIQUITA
BRANDS INTERNATIONAL, INC.; DEL MONTE FRESH PRODUCE, INC., DEL MONTE
PRESH PRODUCE N.A., INC., DEL MONTE FRESI~I PRODUCE ('WEST COAS”I), INC.;
SHELL OIL COMPANY (AND SHELL OIL USA), SHELL CHEMICAL COMPANY; THE

DOW CHEMICAL COMPANY, OCCIDENTAL PETROLEUM COMPANY, OCCIDENTAL

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COMPLAINT

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CHEMICAL COMPANY and GCCIDEN'I'AL CHEl\/IICAL CORPORATION arise outof the
same transaction, occurrence, or series of transactions or occurrences as the claims against
DOLE FOOD COMPANY, INC., and, all of which conduct business within this State and
County.

9. Without reference to punitive darnages, the amount in controversy in
compensatory damages for each Plaintifi` exceeds the minimum jurisdictional limits of this
Court, exclusive of interest and costs.

10. lPursuant to California Civil Prooedure Code, Section 395.5, venue in the Superior
Court of Los Angeles County is proper. The principal p}ace of business of DOLE FOOD
COMPANY, INC., at all times relevant hereto, was situated in Los Angeles County.
Specifrca.lly, DOLE FOOD COMPANY, INC. caused tortuous injury by acts or omissions
associated with the design, manufacture, marketing, distribution, or sale of DBCP from its
principal places of business in this County, as Well as its decision from this County directing the
control of banana plantation farms in and around Costa Rica affecting the Plaintiiifs and their

exposure to the harmful pesticides. .

PARTIES ‘

ll. Individual Plaintiffs, are, and were at all times relevant hereto, residents of
COSTA RICA. For the convenience of the Court and parties, the Plaintiffs are listed in
alphabetical order in the Appendix hereto, which is incorporated into this petition as if set forth
fully herein Plaintiffs were banana workers on the BANANA FARM DEFENDANTS’

plantation farms. During the course Of Pla:intiffs’ Work, Plaintiffs applied DBCP designed,

manufactured marketed, distributed, sold, or purchased by DEFENDANTS on the BANANA

FARM DEFENDANTS’ plantations in order to aid and stimulate banana production The DBCP

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COMPLAINT

 

 

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applied by Plaintiffs was toxic, therefore causing Plaintiffs to suffer sterility and other serious
injuries.

12. DEFENDAN'I‘, DOLE FOOD COMPANY, INC., is, and was at all times
relevant hereto, a Delaware corporation with its principal place of business in Los Angeles
County, California. At ali times relevant herein, DOLE FOOD COMPANY, [NC,, or its agents,
purchased DBCP from CHEMICAL DEFENDANTS for application on banana plantation farms
throughout Central Arnerica, including farms in Costa Rica, after it had been banned from
general use in the Um`ted States by the EPA.

13. DEFENDANT, DOLE FRESH FRUIT COMPANY, is, and was at all times
relevant hereto, a Nevada corporation with its principal place of business in Los Angeles County,
California. At all times relevant herein, DOLE FRESH FRUIT COMPANY, or its agents, l
purchased DBCP from CHEMICAL DEFENDANTS for application on banana plantation farms
throughout Central Arnerica, including farms in Costa Rica, alter it had been banned from
general use in the United States by the EPA.

14. DEFENDANT, CHIQUITA BRANDS COMPANY, NORTH AMERICA, is
and was at all times relevant hereto, a Delaware corporation, with its principal place of business
in Hamilton County, Ohio. CHIQUITA BRANDS COMPANY, NORTH AMERJCA is a multi-
national corporation that conducts its business throughout the world, including California and
Costa Rica. At all relevant times herein, CHIQUITA BRANDS COMPANY, NORTH
AMERICA or its agents, purchased DBCP from CHEMICAL DEFENDANTS for application on
banana plantation farms throughout Central Arnerica, including farms in Costa Rica, after it had
been banned from general use in the United States by the EPA.

15. ])EFENDANT, CHIQUITA BRANDS, INC. is and was at all times relevant

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hereto, a Delaware corporation, with its principal place of business in Harnilton County, Ohio.
'CHIQUITA BRANDS, INC. is a multi-national corporation that conducts its business
throughout the world, including California and Costa Rica. At all relevant times herein,
CHIQUITA BRANDS, INC. or its agents, purchased DBCP from CHEMICAL DEFENDANTS
for application on banana plantation farms throughout Central Anrerica, including farms in Costa
Rica, after it had been banned from general use in the United States by the EPA.

16. DEFENDANT, CHIQUI'I`A BRANDS INTERNATIONAL, INC. is and was
at all times relevant hereto, a Delaware ccrporation, with its principal place of business in 7
Harnilton County, Ohio. CHIQUITA BRANDS INTERNATIONAL, INC. is a multi-national
corporation that conducts its business throughout the world, including California and Costa Rica.
At all relevant times herein, CI-IIQUITA BRANDS INTERNATIONAL, INC. or its agents,
purchased DBCP from CHEMICAL DEFENDANTS for application on banana plantation farms
throughout Cent:ral Annerica, including farms in Costa Rica, after it had been banned from
general use in the United States by the EPA.

17. DEFENDANT, DEL MONTE FRESH PRODUCE N.A., INC., is, and was at
all times relevant hereto, a Florida corporation with its principal place of business in Coral
Gables, Florida. At all times relevant herein, DEL MONTE FRESH PRODUCE N.A., INC., or
its agents, purchased DBCP from CHEMICAL DBFENDANTS for application on banana
plantation farms'throughout Central Arnerica, including farms in Costa Rica, after it had been
banned from general use in the United States by the EPA.

18. DEFENDANT, DEL MON'I`E FRESH PRODUCE, INC. is, and was at all
times relevant hereto, a California corporation with its principal place of business in the County

of San Francisco, California. At all times relevant herein, DEL MONTE FRESH PRODUCE,

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INC., or its agents, purchased DBCP from CHEMICAL DEFENDANTS for application on
banana plantation farms throughout Central America, including farms in Costa Rica, after it had
been banned from general use in the United States by the EPA.

19. -DEFENDAN'I`, DEL MONTE FRESH PRODUCE (WES'I‘ COAST), INC.,
is, and was at all times relevant hereto, a Delawarc corporation with its principal place of
business in the County of San Francisco, California. At all times relevant herein, DEL MONTE
FR_ESH PRODUCE (WEST COAST), INC., or its agents, purchased DBCP from CHEMICAL
DEFENDANTS for application on banana plantation farms throughout Central America,
including farms in Costa Rica, after it had been banned from general use in the United States by
the EPA.

20. DEFENDANT, SHELL CHEMICAL COMPANY is, and was at all times
relevant hereto, a Delaware corporation, With its principal place of business in Harris County,
Texas. SHELL CHEMICAL COMPANY is a multi-national corporation that conducts its
business throughout the world, including California and Costa Rica. At all times relevant herein,
SHELL CHEMICAL COMPANY or its agents, manufactured, distributed, marketed and sold

DBCP for use on banana plantation farms throughout Central America, including farms in Costa

EPA.

21. DEFENDANT, SHELL OIL COMPANY is, and was at all times relevant
hereto, a Delaware corporation, with its principal place of business in Harris County, Texas.
SHELL OIL COMPANY is a multi-national corporation that conducts its business throughout
the world, including California and Costa Rica. At all times relevant herein, SHELL OIL

COMPANY or its agents, manufactured distributed, marketed and sold DBCP for use on

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Rica, to BANANA FARM DEFENDANTS after it had been banned in the United States by the `

 

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banana plantation farms throughout Central Arnerica, including fanns in Costa Rica, to
BANANA FARM DEFENDANTS after it had been banned in the United States by the EPA.

22. DEFENDANT, OCCIDENTAL PETROLEUM CORPORATION
(“Occidental Petroleurn”), individually and doing business as Occidental Chemical Company, is
a California corporation, with its principal place of business in Los Angeles.

23. DEFENDANT, OCCIDENTAL CHEMICAL COMPANY, was at one time an
operating division of Occidental Petroleum Corporation. Thereafcer Occidental Chemical
Company was a Calit`ornia corporation, with its principal place of business located in Lathrop,
California. This corporation’s name was changed to Occidental Chemical Agricultural Products,
Inc. and then merged into O_ccidental Chemical Corporation.

24. DEFENDANT, OCCIDENTAL CHEMICAL CORPORATION, was at all
times relevant herein a New York corporation, with its principal place of business located in
Da`llas, Texas.

25. DEFENDANT, THE DOW CHEMICAL COMPANY is, and was at all times
relevant hereto, a Delaware corporation, with its principal place of business in Midland,
Michigan. THE DOW CHEMICAL COMPANY is a multi-national corporation that conducts
its business throughout the world, including California and Costa Rica. At all times relevant
herein, THE DOW CHEMICAL COMPANY or its agents, manufactured, distributed, marketed
and sold DBCP for use on banana plantation farms throughout Central Ainerica, including fanns
in Costa Rica, to BANANA FARM DEFENDANTS after it had been banned in the United
States by the EPA.

26. Encept as described herein, Plaintit`fs are ignorant of the true names of

"l DEFENDANTS sued as DOES 1 through 100, inclusive, and the nature of their wrongful

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conduct, and therefore sue'these DOE DEFENDANTS by such fictitious names Such DOE
DEFENDANTS knowingly aided and participated in DEFENDANTS wrongful conduct
complained of herein. Plaintiffs will seek leave of the Court to amend this Cotnplaint to allege
their true names and capacities when ascertained
FACTUAL ALLEGATIONS

27 . CHEMICAL DEFENDANTS are the primary manufacturers and distributors of
chemical products in the United States. CHEMICAL DEFENDANTS designed and
manufactured all of the DBCP sold to BANANA FARM DEFENDANTS at the respective
chemical plants in the United States. CHEMICAL DEFENDANTS were aware that the EPA
banned DBCP from general use in the United States in 197 9. Regardless of such adverse facts,
CHEMICAL DEFENDANTS continued to distribute and sell DBCP to BANANA FARM
DEFENDANTS for application on banana plantation farms specifically mentioned herein and
others in Costa Rica after the ban had been instituted

28. In 1957 or earlier, CHEMICAL DEFENDANTS had reason to question the
operational integrity of the DBCP design and distribution system. At or about the same time,
CHEMICAL DEFBNDA_NTS found evidence that exposure to DBCP caused testicular atrophy
in laboratory animals Regardless of such findings, DBCP continued to be manufactured and
distributed throughout the Unites States and abroad. CHEMICAL DEFENDANTS were not able
to correct the above-mentioned problem and continued testing began to show testicular problems
in humans as well; including all human workers at the CHEMICAL DEFENDANTS’ facilities
Af`ter the EPA banned DBCP from general use in the United States in 1979, DEPENDANTS

continued designing, marketing, manufacturing distributing selling or purchasing DBCP for

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application on plantation farms throughout Costa Rica despite the serious dangers it posed to
humans

29. On or about July, 1961, the Pesticide Regulations Branch of the U.S. Department
of Agriculture (“USDA”) advised CHEMICAL DEFENDANTS, SHELL OIL COMPANY and
SHELL CHEMICAL COMPANY to place extensive precautionary warning labels on its
Nemagon barrels. The USDA also requested health records of those plant workers who had been
employed for an extended period in the manufacture or formulation of products containing
DBCP. CHEMICAL DEFENDANTS, SHELL OIL COMPANY and SHELL CHEMICAL
COMPANY dismissed such advice, calling the USDA’s measures overly cautious and stating
that the proposed precautionary statements could have an adverse effect on the future sales of
Nemagon.

30. At this time CHEMLCAL DEFE`.NDANTS decided not to recali, and BANANA
FARM DEFENDANTS decided not to stop applying, any of the DBCP. CHEMICAL
DEFENDANTS continued to distribute DBCP despite the toxicity of the soil turnigant.
DEFENDANTS continued to sell, distribute, purchase, or apply toxic DBCP in conscious
disregard for the health and safety of Plaintiffs Who were routinely exposed to the pesticide

31. On or about August 12, 1977, the Occupational Safety and Health Administration
issued a warning letter to CHEMICAL DEFENDANTS, calling their attention to the hazard Of
worker exposure to DBCP. On or about August- 19, 1977, the Director of NIOSH wrote to
CHBMICAL DEFENDANTS requesting information to fully evaluate the extent of the hazards
posed by exposure to DBCP. Although CHEMICAL DEFENDANTS suspended production of

DBCP in the late 1970`s, they nevertheless continued to allow the marketing distribution, and

'. sale of the DBCP in question to Costa Rica, and did so in conscious disregard of the health and

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safety of Plaintitfs there. In addition, BANANA FARM DEFENDANTS continued to oversee
the application of the DBCP in question on banana farms, including those specifically mentioned
herein and others in Costa Rica.

32. By the time that CHEMICAL DEFENDANTS had suspended production of
DBCP, however, millions of gallons had been exported to Central America and, in turn,
Plaintiffs had already been exposed to it. ln addition, millions of gallons of DB CP manufactured
and sold to BANANA FARM DEFENDANTS under the brand names of Nemagon and
Fumazone by the same defective process were also toxic. Plaintiffs have suffered serious injuries
as a result of their exposure to DBCP.

33. Prior to the general ban in the United States in 1979, CHEMICAL
DEFENDANTS knew that DBCP was toxic and could cause sperm loss and other injuries to
Plaintiffs; and that DBCP could not be safely applied in any amount or fashion. Despite this
knowledge, CHEMlCAL DEFENDANTS continued to distribute millions of gallons of DBCP to
BANANA FARM DEFENDANTS for application on plantation farms across Costa Rica.

34. Plaintiffs are informed and believe, and on that basis, herein allege that
CHEMICAL DEFENDANTS did not act with due care when responding to the general ban on
DBCP by the EPA. Plaintiffs are informed and believe, and on the basis, herein allege that
CHEMICAL DEFENDANTS failed to expeditiously remove the toxic DBCP distributed abroad
from the stream of commerce failed to expeditiously recall barrels containing toxic DBCP, and
continued to distribute the toxic DBCP after receiving notice of the general ban. At all relevant
times, CHEMICAL DEFENDANTS had actual or constructive knowledge of the foregoing
;" general ban and the toxicity of DBCP and, therefore are directly liable for injuries to Plaintitt`s

“ based upon the following'. (a) CHEMICAL DEF ENDANTS financially supported the continued

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and others in Costa Rica; (b) CHEMICALl DEFENDANTS had direct involvement with the

testing of laboratory rats and mice that developed testicular atrophy as a result of their exposure _

to DBCP; (c) CHEMICAL DEFENDANTS had some of its key employee personnel serve as
members of these testing and research groups; (d) CHEMICAL DEFENDANTS created the
overall policy regarding the steps and procedures to be followed to validate continued
distribution of DBCP despite such adverse iindings; (e) CHEMICAL DEFENDANTS’ personnel
Were involved in the fact-finding investigations into the problems stemming from workers with
abnormally low sperm counts and their exposure to DBCP stemming from manufacture and
formulation of the pesticide; (t) CHBMICAL DEFENDANTS implemented policies and
procedures whereby they developed an indemnity plan with BANANA FARM DEFENDANTS
in case of lawsuits connected with exposure to DBCP; (g) CHEMICAL DEFENDANTS planned
to continue distributing DBCP after the general ban in the United States if profits exceeded
potential lawsuit costs; and (h) CHEMICAL DEFENDANTS planned to sell millions of pounds
of DBCP per year alter the general ban in the United States for application on banana farms
throughout Central America, including those specifically mentioned herein and others in Costa
Rica.

35.` Piaintiffs are informed and believe, and on the basis, herein allege that BANANA
FARM DEFENDANTS did not act with due care when responding to the general ban on DBCP
by the EPA. At all relevant times, BANANA FARM DEFENDANTS had actual or constructive
knowledge of the foregoing general ban and the toxicity ofDBCP and, therefore, are directly
liable for the injures to Plaintiffs based upon the following (a) BANANA FARM

DEFENDANTS financially supported the continued distribution of DBCP to banana farms

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distribution of DBCP throughout Central America, including those specifically mentioned herein

 

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throughout Central America, including those specifically mentioned herein and others in Costa
Rica; (b) BANANA FARM DEFENDANTS were directly involved in the application process of
DBCP on banana farms throughout Central America, including those specifically mentioned
herein and others in Costa Rica; (c) BANANA FARM DEFENDANTS continued to purchase
DBCP from CHEMICAL DEPENDANTS after the general ban was instituted by the EPA,
despite knowledge ofthe adverse health ett`ects that exposure could have on humans; (d)
BANANA FARM DEFBNDANTS agreed to indemnify CHEMICAL DEFENDANTS in the
event of lawsuits connected with exposure of DBCP; and (e) BANANA FARM DEFENDANTS
had knowledge that exposure to DBCP could cause testicular atrophy and other serious health
problems in humans as a result of earlier tests conducted by CHEMICAL DEFENDANTS.
THE DISCOVERY RULE

36. Plaintiffs allege they had no knowledge of the cause of their injuries Plaintiffs did
not suspect, nor did they have reason to suspect, that their injuries were caused by
DEFENDANTS’ wrongdoing Speciiically, Plaintit`fs did not have a suspicion of wrong doing
until diagnosed by doctors in 2003.

37. DEFENDANTS did not disclose that DBCP was unreasonably dangerous
Plaintiffs were not provided with any information about the discovery that DBCP could cause
sterility. Plaintifl`s were not provided any information regarding the EPA’s ban of DBCP in the
United States because it was an unreasonably dangerous product. Without this inforrnation,
which DEFENDANTS had access to at all times herein, Plaintiffs did not have notice or
information of circumstances which would put a reasonable person on inquiry.

38. Plaintiffs are Costa Rican citizens and speak only their native language, Spanish.

Even if the literature concerning the harmful qualities of DBCP made its way to the remote

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banana farms of Costa Rica, it would have been of no use. The individual Plaintiifs speak only
Spanish and many lack fundamental reading skills Any information provided to thern, in a
language other than Spanish, would not have put them on inquiry Furtherrnore, the only
information contained on the barrels of DBCP were the words “Dow,” the names of the
CHEMICAL DEFENDANTS, or the chemical names, either Nemagon or Fumazone. This
information does not provide notice or information of circumstances which would put a
reasonable person on inquiry '

39. Given the location of the Plaintiffs and their living conditions and access to
information, it was impossible for the Plaintit`fs to have any suspicion of wrongdoing Plaintiffs
worked long days in a remote part of the world, away from mass media They had no access to
the information revealing the hazards of DBCP. As such Plaintiffs did not have notice or
information of circumstances which would put a reasonable person on inquiry.

40. Furtherrnore, sterility is an injury that is not easily discovered There are no
symptoms that would prompt a reasonable prudent person to suspect wrongdoing There was no
way for Plaintii:`fs to know of any injury until properly diagnosed by a doctor, which occurred in
2003. Until that time, Plaintiffs could not have had notice or information of circumstances that
would put a reasonable person on inquiry.

FIRST CAUSE OF ACTION

PRODUCTS LIAB ILITY - NEGLIGENCE
(As to All Defendants)

41. Plaintiffs incorporate by reference each allegation contained in paragraphs l

through 40 above as if set forth hilly herein.
42. DEFENDANTS in manufacturing distributing or applying DBCP had a duty to

Plaintiffs to do so in a reasonable manner and to ensure that the product was without defect.

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43. DEFBNDANTS breached this duty when they placed the defective product into
the stream of commerce either with knowledge or negligently unaware of its defective and toxic
nature and propensity to cause harm to individuals such as Plaintiffs.

44. As a direct and proximate result of DEFENDANTS’ negligence, the toxically
defective DBCP applied on banana farms speciiically mentioned herein and others in Costa Rica,
caused harm and injury to Plaintiffs.

45. Wherefore, Plaintiffs pray for damages as set forth below.

SECOND CAUSE OF ACTION

STRICT PRODUC'I`S LIABILITY
(As to All Defendants)

46. ` Plaintiffs incorporate by reference each allegation contained in paragraphs 1
through 45 above as if set forth fully herein.

47. DEFE_NDANTS, at all times relevant to this action, engaged in the business of
designing, manufacturing, marketing, distributing, selling, or purchasing DBCP for application
on banana plantation farms specifically mentioned herein, and others in Costa Rica.

48. DEFENDANTS knew and intended that the DBCP designed, manufactured
marketed, distributed, soid, or purchased by DEFENDANTS would be used by Plaintiffs without
inspection for defects in the product. In response to the EPA’s ban on general use in the United
States in 1979, DEFENDANTS continued to expressly distribute and purchase DBCP for use on
banana farm plantations throughout Central America.

49. The DBCP in question was, at the time of purchase, defective and unsafe for its
intended purpose in that it Was not safe but was instead toxic with various chemicals harmful to

the human body that resulted in the potential for sterility and other serious injuries

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50. Millions of pounds of DBCP were applied on banana plantation farms throughout
Costa Rica by Plaintiffs, who were not aware of the hazards of the pesticide Plaintiffs suffered
severe mental and physical injuries as a result of exposure to DBCP. The DBCP was the actual
and proximate cause of the mental and physical injuries suffered by Plaintiffs.

51. Plaintiifs are informed and believe, and thereon, allege that DEFENDANTS:

a. knew or should have known that the DBCP designed, manufactured,
marketed, distributed, sold, or purchased by DEFENDANTS for
subsequent use on banana farms throughout Costa Rica was toxically
defective and unreasonably dangerous in the manner alleged abcve;

b. knew or should have known that because of the toxic defect, the exported
DBCP could not safely be used for the purposes for which it was intended;

c. knew or should have known that the exported DBCP was defective and
dangerous, and in conscious disregard of the safety of the Plaintiffs,
placed it in the stream of commerce within Central American markets;

d. knew or should have knows that when the exported DBCP was placed in
the stream of commerce, it would be sold to BANANA FARM
DEFENDANTS and used by the Plaintifl`s for application

e. represented that the exported DBCP was safe when in fact it was toxic and
was reported to have substantial adverse health effects in hurnans.

52. DEFENDANTS, in designing, manufacturing7 marketing, distributing, selling, or
purchasing DBCP, had a duty to Plaintiffs to do so in a reasonable manner and to ensure that the

product was without defect DEFENDANTS breached these duties by placing a defective

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product into the stream of commerce when they knew or reasonably should have knows of the
product’s defective nature and of its propensity to cause harm to individuals such as Plaintiffs.

53. By placing toxic DBCP in the stream of cornrnerce, CHEMICALDEFENDANTS
impliedly represented that they were safe for the purpose for which they were intended As a
direct and proximate result ofDEFENDANTS’ conduct in the designing, manufacturing,
marketing distributing, selling, or purchasing the toxically defective and dangerous pesticide
known as DBCP for use on those banana plantation farms specifically mentioned herein and
others in Costa Rica, Plaintiffs have been injured.

54. Wherefore, named Plaintiffs pray for damages as set forth below.

THIRD CAUSE OF ACTION
PRODUCTS LIABIL!TY-DEFECT IN DESIGN,
MANUFACTURE, AND CHE.MICAL COMPOSITION
(As to Chemical Defendants)

55. Plaintiffs incorporate by reference each allegation contained in paragraphs l
through 54 above as if set forth fully herein.

56. The millions of pounds of exported DBCP that are the subject of the instant action
were not reasonably fit, suitable, or safe for their intended use by reason of a toxic defect in their
design, manufacture, or chemical composition, which caused them to be unreasonably dangerous
to humans.

57. The defect in design, manufacture, or chemical composition existed at the time
CHEMICAL DEFENDANTS placed the DBCP into the stream of commerce

58. The DBCP was used in its intended and reasonably foreseeable way when it

caused injury to l’laintiffs.

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59. As a direct and proximate result thereof, Plaintiffs have been injured and '
damaged

60. Wherei`ore, named Plaintiffs pray for damages as set forth below.

FOURTH CAUSE OF ACTION
PRODUCTS LIABILITY~BREACK OF WARR.ANTY
(As to All Defendants)

61. Plaintiffs incorporate by reference each allegation contained in paragraphs l

through 60 above as if set forth fully herein.

62. CHEMICAL DEFENDANTS as the designer, manufacturer, marketer,'
distributor, or seller expressly warranted that the DBCP was tit for its intended purpose in that
said product would conform to the specifications thereof

63. DEFENDANTS also breached the warranty implied in the contract for the sale
and subsequent use of goods in that the goods could not pass without objection in the trade under
the contract description, the goods were not of fair average quality within the description, and the
goods were unfit for their intended and ordinary purpose in that they were highly;toxic and
unsafe and therefore unreasonably dangerous As a result, Piaintit`fs did not receive the goods as
impliedly warranted by DEFENDANTS to be merchantable

- 64. DBFEN]§ANTS impliedly warranted that the DBCP was tit for the purpose for
which it was designed in that it was safe, and a suitable instrumentality for use on banana
plantation farms specincally mentioned herein and others in Costa Rica. ln reliance upon
DEFENDAN’I`S’ skill and judgment and the implied warranties of iitness for the purpose,
Plaintiffs applied DBCP on those banana plantation fanns specifically mentioned herein and

others in Costa Rica.

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65. The DBCP was sold to BANANA FARM DEFENDANTS with the knowledge
and intent that the DBCP be used for the benefit of banana production on plantation farms
throughout Costa Rica. Plaintiffs’ employers, BANANA FARM DEFENDANTS, utilized the
toxic DBCP by ordering Piaintiii`s to apply it around banana trees and compensating Plaintiffs at
an unreasonably low rate of pay.

66. The DBCP was not altered by Plaintiffs, or other third parties The DBCP was
defective when it led the exclusive control of CHEMICAL DEFENDANTS, and BANANA
FARM DEFENDANTS knew the DBCP Would be used without additional tests for toxicity. The
DBCP was contaminated and unfit for its intended purpose and Plaintifl`s did not receive the

goods as warranted

 

67. As a direct and proximate cause ofDEFBNDANTS’ breach of express warranty,
Plaintiffs have been injured and damaged
68. Wherefore, named Plaintiffs pray for damages as set forth below.
FIFI`H CAUS]_E OF ACTION
FRAUDULENT MANAGEMENT

(As to Banana Farrn Defendants)

69. Plaintiffs incorporate by reference each allegation contained in paragraphs l
through 68 above as if set forth daily herein.

7 0. As described above, DEFENDANTS designed, manufactured, marketed,
distributed, sold, or purchased containers of toxic DBCP for application on those plantation
farms specifically mentioned herein and others in Costa Rica. Once BANANA FARM
DEFENDANTS learned that the DBCP was toxic, they had a duty to Plaintiffs to discontinue use

of the product, as it was unreasonable dangerous BANANA FARM DEFENDANTS breached

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this duty when they failed to institute any product recall upon learning that the exported DB CP
was toxic.

71. As a direct and proximate result of BANANA FARM DEFENDANTS’ fraudulentv
management regarding the application of DBCP, Plaintiff`s have been injured 7

72. Wherefore, named Plaintiffs pray for damages as set forth below.

SIXTH CAUSE OF AQTION
iNTENTIONAL MSREPRESENTATION
(As to All Defendants)

73. Plaintiff`s incorporate by reference each allegation contained in paragraphs l
through 72 above as if set forth fully herein.

74. At all times herein referred to, CHEMICAL DEFBNDANTS were engaged in the
business of designing, manufacturing marketing, distributing or selling DBCP, which is the
subject of the instant litigation, for use on banana plantation farms specifically mentioned herein
and others in Costa Rica.

75. CHEMICAL DEFENDANTS, acting through their officers, agents, servants,
representatives, or employees, distributed the toxic DBCP to BANANA FARM DEFENDANTS
and various other distribution channels

76. BANANA FARM DEFENDANTS willfully, falsely, and knowingly
misrepresented material facts relating to the character and quality of DBCP. These
misrepresentations are contained in carlous media advertising and documentation disseminated
or caused to be disseminated by CHEMICAL DEPENDANTS,-and such misrepresentations were
reiterated and disseminated by officers, agents,_ representatives, servants, or employees of
CHEMICAL DEFENDANTS, acting within the line and scope of their authority, so employed

by CHEMICAL DEFENDANTS to merchandise and market the product Speciiically,

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DEFENDANTS knew that there were significant health risks associated with exposure to DBCP,
yet CHEMICAL DEFENDANTS continued to distribute DBCP, and BANANA FARM
DEFENDANTS continued to purchase DBCP, for application on banana plantation farms
specifically mentioned herein and others in Costa Rica.

77. All DEFENDANTS continue to intentionally violate Plaintiffs’ rights by inducing
them to sign fraudulent releases Defendants have not been and are engaging in a campaign to
purchase releases of Plaintiffs’ DBCP claims under conditions in which the purported releasers
are encouraged to act based on inaccurate information about their reproductive impairments and
without the advise of counsel. DEFENDANTS have made material false misrepresentations to
Plaintiffs, knowing that the misrepresentations were false or made recklessly without any
knowledge and as a positive assertion

78. Defendants’ settlement campaign and false misrepresentations consists of some of
the following acts outside the presence and without the knowledge of Plaintiifs’ counsel:
Defendant or their agents (l) seek out workers (Pla_intiffs in this case) who were exposed to
DBCP; (2) tell workers that their DBCP claims may be settled quickly but only if the claimants
are not represented by counsel; (3) tell workers who are already represented that such
representation is “not important” or “does not matter”; (4) provide workers with an “attorney”
who received a percentage of the less than adequate recovery to ostensibly “assist” in the
execution of the release; (5) instruct Workers to go to a clinic for a semen test and give them
money to cover associated food and travel expenscs; (6) tell DBCP-affected workers that their
claims are without merit but, nevertheless, may be settled quickly (as a form of “assista.nce" so
long as plaintiffs" lawyers are not involved; and (7) eventually offer workers between 400,000

and 900,000 colones (approximately $2,900 to $6,500) to release all their related claims

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DEFENDANTS and their agents also tell workers that plaintiffs’ lawyers will “chargc [DBCP
exposed workers] 60 to 70 percent of the recoveries” while the defendants will “charge them
nothing,”

79. A significant number of P_laintiffs have relied to their detriment on and have been
harmed by DBFENDANTS by signing releases As a result of Defendants’ naudulcnt acts, the
misinformed workers (Plaintifl`s in this case), do not understand: (l) whom they are purportedly
releasing; (2) whom they are potentially hiding in their releases; and (3) that they are
compromising their claims for amounts substantially less than that for which virtually identical
claims in similar litigation have been settled. Plaintiffs have been further harmed by
DBFENDANTS’ fraudulent acts because even if the releases are thereafter invalidated as a result
of being fraudulently and unfairly obtained, they will present a serious obstacle to a fair and
expeditious resolution of Plaintiffs’ DBCP claims by forcing Plaintiffs to expend court time and
resourced to prove the fraudulent nature of such releases

80. DEFENDANTS’ representations Were made with the intent that 'the general
public, including Plaintiffs, rely upon them. DEFENDANTS’ representations were made with
knowledge of the falsity of such statements, or in reckless disregard of the truth thereof

Sl. In actual and reasonable reliance upon DEFENDANTS’ misrepresentations
Plaintiffs used the DBCP for their intended and reasonable foreseeable purposes: i.e., controlling
plant plagues and prevention of diseases and insects associated with banana production
Plaintiffs were unaware of the existence effects that DEFENDANTS suppressed and failed to
disclose If they had been aware of the suppressed facts, Plaintiffs would not have used DBCP.

82. Plainan‘s are informed and believe and thereon allege that DEFENDANTS

misrepresented material facts with the intent to defraud Plaintiffs. Plaintiffs were unaware of the

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intent ofDEFENDANTS and relied upon the representations of DEFENDANTS in agreeing to

apply the DBCP. Plaintiifs’ reliance on the representations of DEFENDANTS was reasonable

83. In actual and reasonable reliance upon MANUFACTURER DEFENDANTS’
misrepresentations, Plaintifl`s applied the DBCP in the way in which it was intended, the direct
and proximate result of which Was injury and harm to the Plaintiffs.

84. Wherefore, named Plaintiffs pray for damages as set forth below.

SEVEN'I`H CAUSE OF ACTION
FRAUD BY CONCEALMENT
(As to All Defendants)

85. Plaintiffs incorporate by reference each allegation contained in paragraphs l
through 84 above as if set forth fully herein.

86. Plaintiffs are informed and believe, and thereon allege, that DEFENDANTS knew
that there was a high probability that DBCP manufactured ti'om January 1, 1970 thereafter was
not safe for application, but was in fact highly toxic, and concealed this fact.

87. DEFENDANTS had a duty to disclose this information to Plaintiffs.
DEFENDANTS failed to timely disclose this information to Plaintiffs. Further, DEFENDANTS
actively suppressed and concealed the fact that there was a high probability that DBCP
manufactured from January 1, 1970 thereafter was not safe for application, but was in fact highly
toxic.

88. DEFENDANTS concealed such information for the purpose of inducing the use
of the DBCP designed, manufactured, distributed, and sold by CHEMICAL DEFENDANTS.

89. Pl_aintiffs were unaware of the existence of facts, which DEFENDANTS failed to
disclose and actively suppressed and concealed If they had been aware of the facts not disclosed

by DEFENDANTS, they would not have agreed to the use of the toxic DBCP. Plaintiffs are

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informed and believe and thereon allege that DEPENDANTS concealed such material facts with
the intent to defraud Plaintiffs. Under the circumstances, especially since DEFENDANTS
omitted and concealed material facts, Plaintiffs’ reliance on the representations of
DEFENDANTS was reasonable

90. As a result of DEFENDANTS’ material omissions, failure to disclose, and active
concealment, Plaintiffs used BANANA FARM DEFENDANTS’ toxic DBCP purchased from
CHEMICAL DEFENDANTS, and used it in the way in which it was intended, the direct and
proximate result of which was injury and harm to the Plaintiffs.

91 . Wherefore, named Plaintiffs pray for damages as set forth below.

EIGHTH CAUSE OF ACTICN

 

GENERAL NEGLIGENCE
(As to All Defendants)

A. Negligent Recall

92. Plaintiffs incorporate by reference each allegation contained in paragraphs 1
through 91 above as if set forth fully herein.

93. As described above, DEFENDANTS designed, manufactured marketed,
distributed, or sold DBCP. Once DEFENDANTS learned that DBCP was toxic and unreasonable
dangerous and defective, they had a duty to Plaintiifs to institute an effective product recall.

94. DEFENDANTS breached this duty not only when they failed to institute any
product recall upon learning the DBCP was toxic and unreasonably dangerous and defective, but
also when they failed to institute an effective product recall alter receiving a letter from the
Occupational Sat_`ety and Health Administration on August 12, 1972, calling their attention to the
hazard of worker exposure to DBCP. As a direct and proximate result of DEFENDANTS’

failure to effectively recall the DBCP, Plaint:iffs have been injured.

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95. Wherefore, Plaintiffs pray for damages as set forth below.

B. Ne li ent Misre resentation

 

96. Plaintiffs incorporate by reference each allegation contained in paragraphs 1
through 95 above as if set forth fully herein.

97. DEFENDANTS negligently and recklessly misrepresented various material facts
regarding the quality and character of their product, under circumstances where DEFENDANTS
either knew or, in the exercise of reasonable care, should have known that the representations
were not true or were not known to be true. These misrepresentations were contained in carious
packaging labeling and correspondence from DEFENDANTS, and such misrepresentations
were further reiterated and disseminated by the officers, agents, representatives, servants, or
employees of DEFENDANTS acting within the scope of their authority.

98. In reliance upon these misrepresentations, Plainti ffs used DBCP distributed
through BANANA FARM DEFENDANTS on plantation farms specifically mentioned herein
and others in Costa Rica. Had Plaintiffs knows the true facts, including, but not limited to, the
fact that the DBCP was toxic and therefore unsafe and unreasonably dangerous, they would not
have used the DBCP designed, manufactured, marketed, distributed and sold by Cl-IEl\/IICAIJ
DEFENDANTS.

99. As a direct and proximate consequence of DEFENDANTS’ negligent
misrepresentations, Plaintiffs have been injured

100. Wherefore, named Plaintiffs pray for damages as set forth below.

C. Negligent Distribution

101. Plaintiffs incorporate by reference each allegation contained in paragraphs l

through 100 above as if set forth herein.

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highly toxic and unreasonably dangerous

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102. DBFENDANTS negligently and recklessly distributed DBCP after DEFENDANT
knew or, in the exercise of reasonable care, should have known that said product was
unreasonably dangerous and would cause sterility. As described above, DEFENDANTS
designed, manufactured marketed, distributed, or sold DBCP. Once DEFENDANTS learned
that DBCP was toxic ad unreasonably dangerous and defective, they had a duty to Plaintit`fs to
cease distribution

103. DEFENDANTS breached this duty when they continued distributing DBCP after

learning from Occupational Sat`ety and Health Administration on August 2, 1977 that DBCP was

104. As a direct and proximate result of DEFENDANTS’ failure to cease distribution
of the DBCP, Plaintiffs have been injured
105. Wherefore, Plaintiffs pray for damages as set forth below.
NINTH CAUSE OF ACTION

CONSPIRACY
(As to all Defendants)

106. Plaintiffs incorporate by reference each allegation contained in paragraphs l
through 105 above as if set forth fully herein.

107. DEFENDANTS knowingly and willfully conspired and agreed among
themselves, in various indemnity agreernents, to commit the aforementioned tortuous acts.
DEFENDANTS did the acts and things herein alleged pursuant to, and in furtherance of, the
conspiracy and above-alleged indemnity agreements DEFENDANTS fbrthered the conspiracy
by cooperation with and encouragement to each other in that all DEFENDANTS contributed to

the manufacturing marketing distribution, and application of DBCP after the DEFENDANTS

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knew or, in the exercise of reasonable care, should have known that DBCP was an unreasonany
dangerous product or would cause sterility.

108. As a direct and proximate result of DEFENDANTS’ conspiracy, Plaintiffs have
been injured

l09. Wheret`ore, Plaintiffs pray for damages as set forth belcw.

PRAYER FOR R,_pLIEF

WHEREFORE, sandra pray for judgment against DEFENDANTS, as follows

ll{). For special damages according to proof;

lll. For general damages according to proof;

112. For punitive and exemplary damages in causes of action 1, 2, 3, 4, 5, 6, 7, and 9
the basis for which will be proven at trial. Said exemplary or punitive damages are due and
awardable pursuant to the actions of Defendants described above, including fraud and deceit,
wanton and reckless acts of commission and omission, and outrageous and malicious conduct, in
an amount in favor of each Plaintitf, as a multiple of each Plaintit`fs’ compensatory damages, all
totaled to an amount sufficient to punish said Defendants so as to deter it and others like it from
similar wrongdoing;

l 13. Prejudgment interest; and post judgment interest;

114. For Plaintiffs’ attorney fees and costs of suit incurred herein;

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115. Such further legal and equitable relief as this court may deem.

DATED: December 8, 2008

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Respectfully Submitted,

ENGSTROM, LIPSCOMB & LACK
PROVOST * UMPHREY LAW FIRM

win

WALTER J. LA `
ELIZABBTH ca OKE
ANN HOWITT

 

 

 

 

By:

JOE J. FISHER 11
MARK SPARKS
Attorneys for Plaintiffs

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; CoSTA RICA APPENDIX B

3 NO. Last Name First blame Cédula

4 1 1 ACOSTA CoRTEs JoRGE 51481174

: 2 ACUNA AGiJERO ANToNlo 1497014

7 3 AcuNA MuRlLLo GERARDO 1491893

8 4 AGL'JERO ARTAV:A JAViER RAMON 5158894

9 5 AGUERC MORA TEoooRo 6105507
10 6 AGU\LAR CESPEDES VicToR avco 7085589
11 7 AoUlLAR MONTERO JOSE JOAQUIN 6111793
12 s AeuiLAR MORA oscAR 31901299
13 9 AGo:LAR soLANo ALBlNo 3232263
14 10 AGulRRE AoulRRE 1035 slMc')N 6054010
15 11 AoulRaE Ac-:»ulaas sosa FRANclsco 5144547
16 12 AculRRE viLLAoRA AL:=oNso 5090355
17 13 AoulRRE zuNlGA sANTos viANNEY 5175062
13 14 ALvARAoo Rlos cLEMENTE 5035031
19 15 ALVARADO zANloRA ALcloEs 5129364
20 16 ALVAREZ AGUIRRE ANG EL JuLlAN 7064453
21 17 ALVAREZ ALVAREZ ANTONlo 7047271
22 1a AL\/AREZ ALVAREZ Luls ANToNlo 5159419
23 19 AL\/AREZ BUSTOS JESUS 5195826
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23 ARAGON RUGAMA CRlsTc')BAL ALBERTO 5073359
29 ARAYA AL\/AREZ MARV!N 7050129
30 ARAYA BOLANOS JOSE ANGEL 9033574
31 ARAYA HERNANDEZ cLAuDlo 7033437
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33 ARAYA ROJAS BENEDlCTO 2223463
34 ARCE BEJARANO JOSE DONALDO 3064040
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42 AR\AS vlLLALOBOS EDUARDO 7063959
43 A\nLA cAMBRONERO , RAFAEL ANTONIO 3140307
44 A\/u_ES JUAREZ HUGO 5213394
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31 BO.JORGE APu FRAN31300 3057430
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71 BRENES LEON ' EDW|N RuBEN 70431173
72 BRENES MARTiNEz cESAR AuRELlo 7037305
73 BRENES MORA EDGAR ' 7055512
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WALTER J. LACK, ESQ. (SBN 57550)
__ ENGSTROM, LIPSCOMB & LACK

10100 SANTA MONICA BL, 12th FL, L.A., CA 99067 FILED .
LOS ANGBLBS SUPERIOR COURT
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PLA\NT\FF!PETmoNER: ACOSTA CORTES, et al. B C 40 g 1 6 d

 

oEFENDANTlREsPoNDENT: DOLE FOOD CO., INC., et al. JuchIAL orrlces=

 

 

DEPT.:

NOT|CE OF RELATED CASE

 

 

 

lo’entlfy, in chronological order according to dafe of Hllng, sll cases related to the case referenced above.
1_ a. Titie: ANGEL ABARCA ABARCA, et af. v. DOLE FOOD CO., INC., et 31.
b. Case number: BC322412 (LEAD to BC331844,45&46)

c. Court: 1::] same as above

other state or federal court (name and address): LASC-CENTRAL CIVIL WEST
, Departmem; 600 S. Commonwealth Avo,L.A.,CA 90005

. Case type: 1:1 limited civil E{__l unlimited civil 1:] probate \:1 family law l:l other (specllj/):
Filing date: 10/01/€}4

Has this case been designated or determined as "complex?" CX] Yes !:[ No

. Re|ationship of this case to the case referenced above (check all that apply):

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\X] involves the same parties end is based on the same or similar claims.

\:l arises from the same or substantially identical transactions inoidents, or events requiring the determination of
the same or substantially identical questions of law or faot.

1:1 lnvo|ves claims against. title to, possession of, or damages to the same property.
l:l is likely for other reasons to require substantial duplication of judicial resources if heard by differentjudges.

l:l Addmonal explanation is attached in attachment 111

i. Status of case:

m pending
l:l dismissed [::I with 1:1 Without prejudice
1:1 disposed of byjudgrnent

Title:
Case number:

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§ _ Court: \:l same as above

ii \___l other state or federal court (narne and address):

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cg Department:

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Form 1311 loved lorO lionel Use .R 1
Judi&`£ Council of Sa|ifomla NOT|CE oF RELATED cASE @EB Ca] u 65 or couch rule ucc

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CM-Bt$ [Rev. July 1. 200T1

 

-Cas,e 2:09-cV-00193-CAS-EK Document 1 Filed 01/09/09 P‘qe 58 of 65 Page |D #:58
__,,. ,
still-015

 

___ PLA|NT|FFIPETITIONER: ACOSTA CORTES, et 31_ v CASE william
DEFaNoANTlREsPoNDENT: DOLE FOOD CO., ]NC,, et al,

 

 

 

 

2. (oontlnued) '

e. case iype: E.____i limited civil [:i unlimited civil l:l probate l:l iamin law |:l other repeelry):
f. Filing date:
g. Has this case been designated or determined as "comple)t?" i::l Yes i:] No
h. Re|ationship of this case to the case referenced above (check all that apply).’
[:§ involves the same parties and is based on the same or similar claims.

i:] arises from the same or substantially identical transactionsl lnoidents, or events requiring the determination of
the same or substantially identical questions cf law or fact.

1:1 involves claims against, title to, possession of, or damages to the same property.
i:\ is likely for other reasons to require substantial duplication ofjudicial resources if heard by different judges
:1 Adcl`ltiona| explanation is attached in attachment 2l1
i. Status of case:
[:3 ' pending
[_-_:} dismissed ij with I::i without prejudice
:l disposed of by judgment

3_ a. Title:
b. Case number
c. Court: I::] same as above
i:l other state or federal court (name and address):
d. Department:
. Case type: l::i limited civil 1::| unlimited civil |::i probate i:] family law l:] other(spaoli§/):
Filing date:

."*CD

Has this case been designated or determined as “comp|ex?" i:] Yes l:i No

_=r¢.e

Relationship of this case to the case referenced above (check all that apply):
1:1 involves the same parties and is based on the same or similar claims.

:1 arises from the same or substantially identical transactionsl incidents, or events requiring the determination of
. the same or substantially identical questions ct law or fact.

t:i involves claims against. title to, possession of, cr damages to the same property
l:i is likely for other reasons to require substantial duplication of judicial resources if heard by different ]udges.
1::1 Addltlonai explanation is attached in attachment 3h
i. Status of case:
1::\ pending
l_:] dismissed l::i with [:3 without prejudice
I:: disposed of by judgment

4. §§ Additionai related-cases are described in Attachment 4. Number of pages attached: __*___

 

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oei§§ Deoember 3, 2008

§§ wAL"rER J. LACK > v Nj/U

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__ PLAlNTlFF/Ps“rlnonsn: ACOSTA CORTES,etal.

 

DEFENDANTIRESPONDENT: DOLE FOOD CO., INC., et al.

CASE NUMBER:

 

 

 

PROOF OF SERV|CE BY FlRST-CLASS MAIL
NoTlcE oF RELA¥ED cAsE

(NOTE: Y'ou cannot serve the Notice of Related Case if you are a party in the action. The person who served the notice must

complete this proof of service The notice must be served on all known parties in each related action or prooeeding.)

1. 1 arn at least 18 years old and not a party to this action. l am a resident of or employed in the county where the maiiing took

piace. and my residence or business address is (speoizj/):

2. l served a copy of the Notlce of Related Case by enclosing it in a sealed envelope with first-class postage fully

prepaid and (cheok one).'

a. \:l deposited the sealed envelope with the United States Postai Servlce.

b. l:l placed the sealed envelope for collection and processing for mailing. followan this business's usual practices.
with which l am readily familiar. On the same day correspondence is placed for coilecilon and mailing, it is

deposited in the ordinary course of business with the United States Posta| Service,

3. The Notlce of Related Case was mailed:
a. on {date):
b. from (city and state):

4. The envelope was addressed and mailed as follower

a. Name of person served:

Street address:
City:
State and zip code:

b. Neme of person served:
Street address:

City:

State and zip code:

o. Name of person served:

Street address:
City:
Siate and zip oode:

d. Name of person served:

Street address:
City:

Stete and zip code:

|:i Names and addresses of additional persons served are attached. (You may use form POS-OSO{P).)

l declare under penalty of perjury under the iaws of the Staie of Cal|forn|a that the foregoing ls true and correct

Date:

{TYPE OR FR|NT NAME OF DEOLARAN'|}

‘~s., renew

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{SIGNATURE OF BECLARANT)

 

cM-ot§[aev.July1,2wn NOT|CE OF RELATED CASE @EB

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C-ase 2:09-CV-00193-CAS- K Document 1 Filed 01/09/09 P e 60 of 65 Page lD #\:W »» :> f

 

 

 

  

 

 

 

A`ITORNEY OFL PARW WETHOUT AT'TORNEY (Nama. Slai& number, and alide F T USE ONI_.Y
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Los Aneet.as, cA socer AI‘*GELES SUPERI()R gov
’ rel_sel»tous No.: 310 552.3800 FAx No. roptrmal}: 310 552-9434 d T
EMA|L. ADDRESS lopliunal}i ' r1 |" r-
srrosnsv roe (Name;: coR';'p_S iii-.»... z '. 2805
SUPERlOR COURT OF CALIFORN!A, COUNTY OF LOS ANGELES.
srREErAnnREss: 111 worth nm street HN A» LAFIKE, CLEHK
immune AnoRsss: Roorn 109 tx , ' a
crrv AND zlP cooE: Los Angeles 90012 B` ~ \ NCHEZ EPUW
BRANcH NAME: Contrai vistrlct. Stanley Mosk Courthouse
PLAlNTlFF/PET\T|DNER: coRTEs °ASE “WBEF~' Bc403364
DEFENDANT!'RESPONDENT'. DOLE FOOD COMPANY, INC.
Rei. No. or Fl|e No.:
PROOF OF SERV[CE OF SUMMONS 3800012733!ACOSTA CORTES

 

 

 

 

t. At the time of service l was at least 18 years of age and note party to this action.

2. l served copies of the (specify documents):

Summons; Complalnt; Civll Case Cover Sheet; Clvii Case Cover Sheet Addendum and Statement of Lecation; Notice
of Reiated Case; Notice of Case Assignment; Adr information Packet

3. a. Party served (specify name of party as shown on documents served):
DOLE FRESH FRUi'i" COMPANY

b. [X} Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent {and note person under
item 5b whom substituted service was made) (specify name and relationship to the party named in item 3a):
MARGARET WlLSON, PROCESS SPEC!AL\STJ' AGENT FOR SERVICE OF PROCESS, A white female approx. 55»65
years of age 5'4"-5'6" In height weighing 120-140 lbs with gray hair

; 4. Address where the party was served: _
j CT CORPORAT|ON SYSTEM, 818 W 7TH Street, LOS ANGELES, CA 90017

ll 5. l served the party (check proper box)

a. [X] by personal service. i personally delivered the documents iisted in item 2 to the party or person authorized to receive
service of process for the party (1) on (date):12!10/2008 (2) at (iime): 2200 PM "

b. [ ] by substituted servico. On (date): (2) at (time): i left the documents listed in item 2 with or in the presence of
(name and title or relationship to person indicated in item 3):

(1) [ ] (buslness} a person at least 18 years of age apparently in charge at the office cr usual place of business of
the person to be served. 3 informed him or her of the general nature of the papers.

(2) [ } (home) a competent member of the household (at ieast 18 years of age) at the dwelling house or usual place
of abode ct the party. l informed him or her of the general nature of the papers.

(3) f } (physical address unknown) a person of at least 18 years ct age apparently in charge at the usual melting
addresss of the person to be served, other than a United States Postal Service post office box. l informed him
or her of the general nature of the papers.

(4) [ ] l thereafter mailed (by first»c|ass, postage prepaid) copies of the documents to the person to be served'at the
place where the copies were left (Code_Civ. Proc., § 415.29). l mailed the documents on {date): from
(city): or[ ] a declaration of mailing is attached
(5) [ ] l attach a declaration of diligence stating actions taken first to attempt personal service
. Page f 012

Form Adopted for Manoalory Use Code ot Ctvil Procedure. § 417.10
.!tldlciai Council of Caiifomla

F°$°‘°lRW'J““"aW"»z°°?l PROOF OF SERVICE OF SUMMONS Orcler No. 5640145 LAX FIL

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Case 2:09-CV-00193-CAS- K Documentl Filed 01/09/09 P 961 of 65 PagelD#:61

 

 

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' DEFENDANTiRESPONDENT: DOLE FOOD COMPANY, lNC.

 

 

c. [ ] by mail and acknowledgment of receipt of service. l maiied the documents iisted in item 2 to the party. to the
address shown in item 4, by first-class mai|, postage prepaid,
(t) on (date): (2) from (city):
(3) [ ] with two copies of the Notice and Acknowledgment of Recei,ot and a postage-paid return envelope
addressed to rne. (Attach completed Notlce and Aci<nowiedgment of Receipt.) (Code Civ. Proc., § 415.30}
(4) 1 ] to an address outside California with return receipt requested (Code Civ. Proc., §415.40)
d. [ ] by other means (specil§r means of service and authorizing code section):

[ ] Additional page describing service is attached

6. The "Notice to the Person Served" (on the summons) was completed as follows:
a. { las an individual defendant
b. [ l as the person sued under the fictitious name of (specify):
c. [ ] as occupant

d. [X} On behalf of (speciij/): DOLE FRESH FRUtT COMPANY
under the following Code of Clvii Procedure secticn:

416.10 (corporation)
[ 416.20 (defunct corporation)
{ ] 416.30 (joint stock companyiassociatlon)
{ ] 416.40 (assoclation or partnershlp)
{ ] 416.50 (public entity)

] 415.95 (buslness organization term unknown)
] 416.60 (minor)

] 416.70 (ward or conservatee)

1 416.90 (authorlzed perscn)

] 415.46 (occupant)

] other
T. Person who served papers
a. Name: Mario Lopez
l b. Address: 261 S. Figueroa Street, SU|TE 280, LOS ANGELES, CA 90012
l c. Telephone numbers 213-621-9999
d. The fee for service was: $59.50
e. l am:

(1) { 1 noia registered Cailfornia process server.

(2) f ] exempt from registration under Business and professions Code section 22350(b).
(3) [X] registered California process sewer;

'XV:H\E

(i)[ ]owner [ ]employee [X] independent contractor
l (li) [X] Reglstration No.: 5143
(iii) l X] County: Los Angeles

B. [X] ldeciare under penalty of perjury under the laws of the Stat'e of Caiifornia that the foregoing is true and correct
or

9. [ } l am a California sheriff or marshal and l certify that the foregoing is true and correct.

Date: 12!'1212008

Mario Lopez \ V}\/{V Q‘£/v""" /?PYY”/l/
[NAME FPERSON WHO SERVED PAFER¢S!'SHER|FF OR MARSHN.]

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Page 2 ot2

PROOF OF SERV|CE OF SUMMONS 5LAX FiL

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rELEPHoNEso.: 310 552.3300 ano.ropumar;.- 310 552-9434 .
. summonses roprone): mg l 53 `_?_Qg§
AUORNEY FOR lName)= .roRGE Acosrl\ comes
conversion coun'r oF cAr_u=oaNrA, couNrY oi= Los ANesLEs. HN A. LAFlKE, GLERK
swear ADoRess: 111 Nortti Hiii Slraet x /
MAiLlNG ADDRESS: Ronm 109 1 ' . l'
cirv ANo zlP cODE: Los Angeies 90012 B g NCHEZ EPUW
BRANCH NAME: Contrai District. Staniey iiiiosk Courthouse
PLAiNTlFF/PErrrroNER: .ioRGE Acos'rA coRTES °'“SE "UMBER'
' BC403364
DEFENDANT/RESPONDENT: DOLE FOOD COMPANY, |NC.
Rel. No. or Fils No.:
PROOF OF SERVICE OF SUMM_ONS aaooolzrssrAcosTA comes

 

 

 

 

1. At the time of service i was at least 18 years of age and not a party to this action.
2. l served copies of the {specify documents):

Summons; Compiaint; Civil Case Cover Sheet; Clvii Case Cover Sheet Addendum and Staternent of Locatlon; Notlce
of Reiated Case; Notlce of Case Assignment; Adr information Package

3. a. Paity served (specify name of party as shown on documents served):
DOLE FOOD COMPANY, iNc.

b. [X] Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
item 5b whom substituted service was made) (speoify name and relationship to the party named in item 3a):

Margaret Wllson, Process SpeciaiistlAgent for Service of Process, A white female approx. 55-65 years of age 5'4"-5'6"
in height weighing 120-140 lbs with gray hair

4. Address where the party was served:
CT GORPORATION SYSTEM, 818 W 7TH Stre¢t, LOS ANGELES, CA 90017

5. l served the party (check proper box)

a. [X] by personal service. l personally delivered the documents listed in item 2 to the party or person authorized to receive
service of process for the party (1) on (date): 12i10l2l308 (2) at (lime).' 2:00 PM

b. [ ] by substituted service. On (date): (2) at (iime,i: i left the documents listed in item 2 with or in the presence of
{name and title or relationship to person indicated in item 3):

(t) { ] (business) a person at least 18 years of age apparently in charge at the office or usual place of business of
the person to be served. l informed him or her of the general nature of the papers.

(2) [ ] (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place
of abode of the party, l informed him or her of the general nature of the papers.

(3) [ ] (physlcal address unknown) a person of at least 18 years of age apparently in charge at the usual mailing
addresss of the person to be served, other than a United States Posta| Service post office box. i informed him
or her of the general nature of the papers.

(4) [ ] l thereafter mailed (by lirst-cless, postage prepaid) copies of the documents to the person to be served at the

place where the copies were left (Code Civ. Proc., § 415.20). i mailed the documents on (date): from
(city): or[ 1a declaration of mailing is attachedl
(5) [ ] l attach a declaration of diligence stating actions taken first to attempt personal service.
Pagl 1 of 2

 

Form Adopied for Mandatory Use Code el Clvii Procedure. §417.10
Judlcial Councii of Caliiomia

Poso1oiaev.lanuary1.2oon PROOF OF SERVlCE OF SU Fil-

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Case 2:09-cV-00193-CA BK Document 1 Filed 01/09/09 ge 63 of 65 Page lD #:63

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{DEFENDANTI'RESPONDENT: DOLE FOOD COMPANY, INC.

 

 

BC403364

 

 

 

‘ c. [ ] by mail and acknowledgment of receipt of service. l mailed the documents listed in item 2 to the pariy, to the
address shown in item 4, by first-class maill postage prepaid,

(1) on {date): (2) from (city):
{3) [ ] with two copies of the Notlce and Acknowledgment of Receipt and a postage-paid return envelope
addressed to me. (Attach completed Notlce and Acknowiedgrnent of Receipt.) (Code Civ. Proc., § 415.30)
(4) [ 3 to an address outside Cailfornia with return receipt requested (Code Civ. Proc., § 415.40}
d. f ] by other means (specii`y means of senrice and authorizing code section):

[ ] Additional page describing service is attached

6. The "Notice to the Person Served" (on the summons) was completed as foilows:
a. [ ] as an individual defendant
b [ 1 as the person sued under the fictitious name of (specliy):
c. [ ] as occupant
d [x] On behailof (specinr): ooi.E Fooo coMPANY, lNc.
under the following Code of Civl| Procedure section:

416.10 (corporation)
] 416.20 (defunct corporation)
[ ] 416.30 (]olnt stock company/association)
[ § 416.40 (association or partnership)
{ j 416.50 (public entity)

] 415-95 (business organization, form unknown)
] 416.60 (minor)

] 416.70 (ward or conservatee)

] 416.90 (authorized person)

] 415.46 {occupant)

] other
7. Person who served papers
a. Name: Mario Lepoz
` b. Address: 261 S. Flguer`oa Street, SU|TE 280, LOS ANGELES, CA 90012
l c. Te|ephone number: 213-621-9999
‘ d. The fee for service was: $99.50
e. l am:

(1} [ ] not a registered Caiifornia process server.
(2) [ ] exempt from registration under Business and Professions Code section 22350{b).
(3) [X} registered California process server:

XV:¥AE

(i) [ ]owner [ ]emp|oyee LX] independent contractor
; - (ii) lx] Reglstration No.: 5143
_l ` (iil) [X} County: Los Angeles

8. lX] l declare under penalty of perjury under tire laws of the State of Caiifornla that the foregoing is true and correct.
or

9. [ ] l am a Caiifornia sheriff or marshal and t certify that the foregoing is true and correct.

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(NAME OF PERSON WHO SERVEO PAPERSISHERIFF OFi MARSHAL) {$thATURE} (/

Date: 12i'1 212008

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10100 santa nonica slvd., 12th moor -5°“ ’
nos Angeles ca 90067 BY A,d'._nOs. oEPuTY

 

SUPER|OR COURT QF CALIFORN!A, COUNTY OF LOS ANGELES

 

CASE NUMBE.R
JORGE ACOS TA CORTES E'I‘ AL
Plaintiff(s), BC4 0 3 3 6 4
VS.
DOLE FOOD COMPANY INC ET AL Notice of Case Reassignment and of
Defendant(s). Order for Plaintiff to Give Notice

 

 

l _ TO THE PLAINTIFF(S) AND PLAINTIFF’S ATTORNEY OF RECORD or PLAINTIFF(S) IN
PROPRIA PERSONA:

YOU ARE HEREBY NOTIFIED that effective lanua;y 2, 2009 , an order was made that the above-
entitled action, previously assigned to Irving Feffer , is now and shall be assigned to

Abraham Khan as an Individual Calcndar (IC), direct calendaring judge for all purposes,
including trial, in Department _§1_. (See Chapter 7, Los Angeles Court Rules.) Ali matters on
calendar in this case will remain set on the dates previously noticed, in the Department indicated above
unless otherwise ordered by the court.

NOTICE IS FURTHER GIVEN that the order directs that plaintiff and counsel for the plaintiff shall
give notice of this all purpose case assignment by serving a copy of this Notice on all parties to this
action Within 10 days of service of this Notice by the court, and tile proof of service thereof within
12 days of this Notice. Failure to timer give notice and file proof of service may lead to imposition
of sanctions pursuant to Code of Civil Procedure Section 177.5 or otherwise

CERTIFICATE OF MAILING

I, the below named Executivc Oft“lcer/Clerk of the above~entitled court, do hereby certify that I am

not a party to the cause herein, and that on this date I served the Notice of Case Reassigmnent and Order
upon each party or counsel named above by depositing in the United States mail at the courthouse in Los
Angeles, Caliform'a, one copy of the original filed/entered herein in a separate sealed envelope to each
address as shown above with the postage thereon fully prepaid

 

Date: Decernber 23 2008 .John A. C}arke, EXECUTIVE OFFICER/CLERK

'\ A. otuos
‘ ,Deputy Clerk

ljjttj§ E_,§`t "‘-.._S`.“.l"" i"‘a.il "‘v.._ i"‘=.:i ‘»“““‘

--Case 2:09-cv-00193-CAS-V Document 1 Filed 01/09/09 Pa 65 of 65 Page |D #:65

NOTICE SENT TO: LOS ANG BCOURT
Fieher, Joe J., II
Provost*Utnphrey Law First , DEC 2 3 2008
P.o. sex 4905, Jon .cLAar<E, cLEnK
Beaumont TX 77704 ;§] DQ'W

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SUPER|OR COURT OF CAL|FORN|A. COUNTY OF LOS ANGELES

 

CASE NUMBER
JORGE acosTn CORTES ET AL
Plainnff(s), eca 0 3 3 64
vs.
DOLE soon company INc ET AL Notlce of Case Reassignmenr and of
' Defendanc(s). Ot'der for Plaintiff to Give Notice

 

 

TO THE PLAINTIFF(S) AND PLAINTIFF’S ATT()RNEY OF RECORD or PLAINTIFF(S) IN
PROPRIA PERSONA:

YOU ARE HEREBY NOTIFIED that effective Januai;y 2, 2009 , an order was made that the above-
entitled action, previously assigned to Irving Feffer, is now and shall be assigned to

Abraham lillian as an Individual Calendar (IC), direct calendaring judge for all purposes

including trial, in Department___ 51 (See Chapter 7, Los Angeles Court Rules. ) All matters on
calendar in this case will remain set on the dates previously noticed, in the Department indicated above
unless otherwise ordered by the court,

NOTICE IS FURTHER GIVEN that the order directs that plaintiff and counsel for the plaintiff shall
give notice of this all purpose case assignment by serving a copy of this Notlce on all parties to this
action within 10 days of service of this Notlce by the court, and tile proof of service thereof within
12 days of this Notice. Failurc to timely give notice and file proof of service may lead to imposition
of sanctions pursuant to Code of Civil Procedure Section 177.5 or otherwise.

CERTIFICATE OF MAILING

I, the below named Executive Ofticcr/Clerk of the above-entitled court, do hereby certify that I am

not a party to the cause herein, and that on this date I served the Notice of Case Reassignment and Order
upon each party or counsel named above by depositing 1n the United States mail at the courthouse m Los
Angeles, Calit`omia, one copy of the original filed/entered herein m a separate sealed envelope to each
address as shown above with the postage thereon fully prepaid.

Date: December 23 2008 John A. Clarke, EXECUTIVE OFFICER./CLERK

 

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By ` ,Deputy Clerlc

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